Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 1 of 126 Page ID #:5453




      1   Eric 1. Benink, Esq., SBN 187434
      2   KRAUSE KALFAY AN BENINK & SLAVENS, LLP
          550 West C Street, Suite 530         '
      3   San Diego, CA 92101                                                        \
          (619) 232-0331 (ph)                                                        .\
                                                                                          \.
      4   (619) 232-4019 (fax)
          eric@kkbs-Iaw.com
      5
      6   Natalie Locke, Esq., SBN 261363
          PERFECT 10, INC.
      7   11803 Norfield Court
          Los Angeles, CA 90077
      8   (310) 476-0794 (ph)
          (310) 476-8138 (fax)
      9   natalie@perfectl0.com
     10
     11   Attorneys for Plaintiff

     12
                               UNITED STATES DISTRICT COURT
     13
                              CENTRAL DISTRICT OF CALIFORNIA
     14

     15   PERFECT 10, INC., a California       Case No.: 2:11-CV-07098-ABC-SH
     16   corporation,
                                               Before Honorable Audrey B. Collins
     17                Plaintiff,
                                               FIRST AMENDED COMPLAINT
     18         v.                             FOR COPYRIGHT
     19                                        INFRINGEMENT
          GIGANEWS, INC .. a Texas
    20    corporation; LIVEWIRE                DEMAND FOR JURY TRIAL
    21    SERVICES, INC., a Nevada
          corporation; and DOES 1 through
    22    100, inclusive,
    23
                       Defendants.
    24
    25
    26
    27
    28

                                     FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 2 of 126 Page ID #:5454




    1   Plaintiff Perfect 10, Inc. (“Perfect 10”) avers:
    2                            JURISDICTION AND VENUE
    3         1.     Jurisdiction. This action arises under the Copyright Act, 17 U.S.C.
    4   § 101 et seq., and the Lanham Act, 15 U.S.C. § 1051 et seq. This Court has
    5   jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1331,
    6   1338(a) and (b) and principles of supplemental jurisdiction.
    7         2.     Venue. Venue is proper in this judicial district pursuant to 28
    8   U.S.C. § 1391 (b)(2), (c), and § 1400(a).
    9         3.     Personal Jurisdiction. Personal jurisdiction may be asserted over the
   10   Defendants because the wrongful activity at issue concerns Defendants’
   11   operation of commercial businesses through which Defendants knowingly
   12   transact business and enter into contracts with individuals in California.
   13   Specifically, Defendants contract with California customers to sell monthly
   14   memberships for their services, which include the illegal reproduction,
   15   distribution, and display of copyrighted materials to California customers.
   16   Defendants also receive much of their revenue from Visa, Inc., a corporation
   17   headquartered in California. Each of the Defendants, therefore, has purposefully
   18   availed itself of the privilege of doing business in California, and material
   19   elements of Defendants’ wrongdoing occurred in this State.
   20                                     THE PARTIES
   21         4.     Plaintiff Perfect 10 is a California corporation. Plaintiff published
   22   the popular magazine PERFECT 10 and owns and operates the internet website
   23   located at perfect10.com.
   24         5.     Defendant Giganews, Inc., (“Giganews”) owns and operates one of
   25   the largest, if not the largest, infringing paysites in the world, giganews.com.
   26   On information and belief, Giganews also owns, operates, or controls the
   27   website supernews.com, which is operated in a fashion similar to giganews.com.
   28   Giganews has at least 10,000,000 customers, to whom it offers more than

                                                  1
                                    FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 3 of 126 Page ID #:5455




    1   9,000,000,000,000,000 (9,000 trillion) bytes of stolen movies, computer
    2   programs, songs, images, and other materials, which it elects to copy onto its
    3   servers and sell without permission from the rights holders. Giganews has
    4   contracted to provide access to a substantial portion of the 9,000 trillion bytes of
    5   infringing content on its servers to one or more of Defendant Livewire Services’
    6   (“Livewire”) websites who effectively acts as a Giganews reseller:
    7   rhinonewsgroups.com, powerusenet.com, infinityusenet.com, eurousenet.com,
    8   galacticgroups.com, cheapnewsgroups.com, fastusenet.com, usenetgiant.com,
    9   and usenet.net. To the extent that Giganews has supplied Livewire or
   10   Livewire’s users with infringing Perfect 10 images, it directly infringed Perfect
   11   10’s exclusive right of reproduction and distribution in the process. See
   12   paragraph 37, below.
   13         6.     Defendant Livewire Services, Inc. owned, operated, and/or
   14   controlled the Internet websites located at rhinonewsgroups.com,
   15   powerusenet.com, infinityusenet.com, eurousenet.com, galacticgroups.com,
   16   cheapnewsgroups.com, fastusenet.com, usenetgiant.com, and usenet.net, among
   17   others. On information and belief, several of these websites have been closed
   18   down in the last few years, so that the primary Livewire websites that are still
   19   operating are rhinonewsgroups.com, powerusenet.com, and usenet.net. Livewire
   20   sells the infringing material it receives from Giganews at different prices,
   21   depending on usage. Livewire contracts with Giganews for content, the vast
   22   preponderance of which, such a full length movies, popular songs, computer
   23   software, and images of celebrities as well as celebrity fakes, is obviously
   24   infringing. It sells that content to its users for various prices, depending and the
   25   speed and quantity of content delivered. Livewire offers a substantial portion of
   26   the infringing content offered by Giganews. The involvement of Livewire in
   27   the direct, contributory, and vicarious infringement of Perfect 10 copyrights is
   28   explained in more detail in paragraphs 59-66 below.

                                                  2
                                   FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 4 of 126 Page ID #:5456




    1         7.     Ronald Yokubaitis (“Yokubaitis”) is the Digital Millenium
    2   Copyright Act (“DMCA”) agent for giganews.com, supernews.com, and all of
    3   the infringing Livewire websites identified above. On information and belief,
    4   Yokubaitis and his family own and control both Giganews and Livewire. The
    5   address of Livewire as listed on its DMCA filing at the U.S. Copyright Office, is
    6   1044 Liberty Park Drive, Austin, Texas 78746, which is the same address listed
    7   for Giganews. Thus, the knowledge of infringement that Giganews possesses, is
    8   also possessed by Livewire.
    9         8.     The massive computer resources including computer servers that
   10   store the 9,000,000,000,000,000 bytes of infringing movies, songs, computer
   11   software, and images offered by giganews.com are owned and/or controlled by
   12   Giganews and are located in Austin, TX at Data Foundry, Inc., which is
   13   controlled and/or operated by Yokubaitis family.
   14         9.     Does 1 through 100, inclusive, which are businesses owned or
   15   controlled by Defendants either directly or indirectly, or third parties paid by
   16   Defendants to assist them in their infringement, profit from and/or directly or
   17   indirectly infringe or facilitate the infringement of Perfect 10 intellectual
   18   property, are sued herein under fictitious names because their true names and
   19   capacities are unknown to Perfect 10.
   20         10. When Perfect 10 ascertains the Doe Defendants’ true names and
   21   capacities, it will seek leave to amend this complaint to insert such true names
   22   and capacities. Perfect 10 is informed and believes, and on that basis avers, that
   23   each Doe Defendant acted with Defendants and is responsible for the harm and
   24   damages to Perfect 10 herein averred. Each of the Defendants and the Doe
   25   Defendants are referred to hereinafter collectively as “Defendants.”
   26         11.    Giganews, Livewire, and Data Foundry each have the same listed
   27   address of 1044 Liberty Park Drive in Austin, TX 78746. Perfect 10 is informed
   28   and believes, and on that basis avers, that at all times material herein, each of the

                                                  3
                                   FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 5 of 126 Page ID #:5457




    1   Defendants acted under common control and was the agent and/or employee of
    2   the other Defendants, and, in doing the things herein averred, was acting within
    3   the course and scope of such agency and employment.
    4         12.    Perfect 10 is informed and believes, and on that basis avers, that at
    5   all times material herein, each of the Defendants knew about, and contributed to
    6   each other’s infringement. Both Defendants have attempted to conceal their
    7   identities by registering their websites using Internet registration services that
    8   hide the identity of the registered owner, and by failing to provide any contact
    9   person, address or telephone number on their websites.
   10                          THE BUSINESS OF PERFECT 10
   11         13.    The business of Perfect 10 consists of the design, creation,
   12   production, marketing, promotion, and sale of copyrighted adult entertainment
   13   products, including photographs, magazines, video productions, and other
   14   media.
   15         14.    Perfect 10 was the publisher of the well-known magazine
   16   PERFECT 10, but was forced to close that magazine because of rampant
   17   infringement.
   18         15.    Perfect 10 creates or created, and sells or sold, calendars and other
   19   merchandise featuring its images, and was involved in the licensing of
   20   downloads of images for cell phones, but is not currently earning revenue from
   21   that endeavor because of rampant infringement.
   22         16.    Perfect 10 owns and operates the internet website perfect10.com.
   23   Consumers are provided access to content owned by Perfect 10 and made
   24   available by payment of a membership fee of $25.50 per month.
   25         17.    Perfect 10’s revenues are currently derived predominantly from
   26   sales of memberships to its perfect10.com website. Sales of memberships to the
   27   perfect10.com website are made by providing the customer with an individual
   28   user name and password to access the website.

                                                  4
                                   FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 6 of 126 Page ID #:5458




    1         18.    The Perfect 10 Copyrighted Works: Perfect 10 owns thousands of
    2   valuable and unique copyrighted photographs, as well as video productions and
    3   other proprietary materials, some of which are identified in Exhibit 1. As set
    4   forth in Exhibit 1, a substantial number of the copyrighted photographs are
    5   registered with the U.S. Copyright Office and others are pending registration.
    6   Perfect 10 owns the copyrights in and to these works (the “Perfect 10
    7   Copyrighted Works”). A few samples of the Perfect 10 copyrighted images that
    8   Defendants have infringed are included as Exhibits 4-6. Perfect 10 has invested,
    9   and continues to invest, substantial sums of money, time, effort, and creative
   10   talent to make and produce the Perfect 10 Copyrighted Works. In addition, in
   11   order to produce and sell the Perfect 10 Copyrighted Works, Perfect 10 is
   12   required to make numerous payments, including but not limited to model fees,
   13   photographer fees, location costs, styling costs, make-up costs, printing costs,
   14   film and processing costs, travel costs, as well as distribution, public relations,
   15   legal, and advertising and promotion costs.
   16         19.    The Perfect 10 Marks: Perfect 10 also is the owner of the valuable
   17   and well-known Perfect 10 family of trademarks, including but not limited to
   18   PERFECT 10, PERFECT10.COM, and P10 (the “Perfect 10 Marks”). These
   19   marks are used in commerce by Perfect 10 on and in connection with the sale of
   20   its products and services, including PERFECT 10 Magazine and perfect10.com.
   21   Perfect 10 has spent millions of dollars advertising and promoting the Perfect 10
   22   Marks and Perfect 10 products and services bearing these marks. Perfect 10 has
   23   built and owns the valuable goodwill symbolized by the Perfect 10 Marks.
   24   Three of Perfect 10's registered trademarks, registration numbers 2235145,
   25   2202643, and 2573998, have become incontestable under Section 15 of the
   26   Lanham Act, 15 U.S.C. Section 1065.
   27         20.    Goods and services bearing the Perfect 10 Marks have been
   28   featured and/or talked about on numerous television and radio shows (including

                                                  5
                                   FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 7 of 126 Page ID #:5459




    1   The Tonight Show, The Sopranos, The Amazing Race, Entourage, The Howard
    2   Stern Show, Dawson’s Creek, Battledome, Fox News, Hard Copy, Entertainment
    3   Tonight, Extra, The Dating Game, Temptation Island, Monday Night Football,
    4   Hannity & Colmes, The O’Reilly Factor, The View, and Jenny Jones), in motion
    5   pictures (including Orphan, Superbad, Knocked Up, Spiderman, American Pie,
    6   Hollow Man, and The Way of the Gun), and in newspapers and periodicals.
    7         21.    The Perfect 10 Rights of Publicity: Perfect 10 contracts with
    8   models in connection with its magazine and website. Perfect 10 secures
    9   assignments from some of those models of their rights of publicity (the “Perfect
   10   10 Rights of Publicity”). The Perfect 10 Rights of Publicity are valuable
   11   because the identities, including the names and likenesses of these models are
   12   well-known and popular and attract/attracted purchasers of PERFECT 10
   13   magazine and visitors and subscribers to perfect10.com.
   14         22.    The success of Perfect 10’s business is almost entirely dependent
   15   on its intellectual property rights. Therefore, the ongoing and massive
   16   infringements of Perfect 10’s rights, as herein described, is devastating to, and
   17   threatens the existence of, Perfect 10’s business.
   18                         THE BUSINESS OF GIGANEWS
   19         23.    Giganews operates the internet website giganews.com among
   20   others. Livewire operates or has operated the internet websites
   21   rhinonewsgroups.com, powerusenet.com, infinityusenet.com, eurousenet.com,
   22   galacticgroups.com, cheapnewsgroups.com, fastusenet.com, usenetgiant.com,
   23   and usenet.net, among others. At one time, Giganews owned the domain name
   24   usenet.net, and upon information and belief, still does. Upon information and
   25   belief, Giganews sells infringing content to Livewire. Upon information and
   26   belief, the Yokubaitis family owns or controls both Giganews and Livewire.
   27         24.    Giganews sells access to at least 9,000,000,000,000,000 bytes
   28   (9,000 trillion bytes) of stolen movies, songs, computer software, images, and

                                                 6
                                  FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 8 of 126 Page ID #:5460




    1   other materials to its customers, virtually every major popular movie, popular
    2   song, popular software program, and image ever created, for anywhere from
    3   $4.99 per month up to $34.99 a month, depending on the amount of material
    4   desired by the user and the speed of delivery. See Exhibit 2, p. 1. The more
    5   material and speed desired, the greater the cost to the user. Giganews’ $34.99
    6   “diamond membership” also includes a newsreader which Giganews created
    7   called “Mimo,” and a Giganews “VyprVPN” service which allows users to
    8   conceal their infringing activities. Exhibit 2, pp. 1, 7.
    9         25.    Giganews claims that it has at least 10,000,000 customers. Exhibit
   10   2, p. 1. At $15 a month, the cost of Giganews’ “Silver” plan, that would equate
   11   to revenues to Giganews from the sale of infringing content, of $1.8 billion/year,
   12   making it, upon information and belief, by far the world’s largest and most
   13   profitable infringing paysite. Giganews makes this money without paying rights
   14   holders anything.
   15         26.    Giganews writes its own server code, builds its own network, and
   16   deploys servers in Europe, North America, and Asia to copy, display, and
   17   distribute its infringing content. Giganews contends that it stores on its own
   18   servers, and makes available movies, songs, images, computer software, and
   19   other materials for 1,677 days, its “retention period.” Exhibit 2, p. 3.
   20         27.    To receive content from Giganews, the user must pay Giganews
   21   between $4.99 a month and $34.99 a month. In exchange for this payment the
   22   user receives a Giganews username and password.
   23         28.    The user must also purchase a subscription to use a newsreader,
   24   either the Mimo newsreader offered by Giganews, or some other newsreader,
   25   such as “Newsrover.”
   26         29.    The user then inputs their Giganews username and password into
   27   their newsreader (such as Giganews’ newsreader Mimo), and then has several
   28   options. One option is to simply use the Mimo browser’s default setting to

                                                  7
                                   FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 9 of 126 Page ID #:5461




    1   search on a particular term, such as “perfect10,” “perfectten,” “P10,”
    2   “RoM_P10,” or “P10_Vol” across a portion of “newsgroups” selected by
    3   Giganews. Although called “newsgroups” by Giganews, such groups are not
    4   newsworthy but rather consist simply of massive quantities of extremely
    5   valuable, obviously copyrighted, material to which Giganews has no rights. The
    6   Mimo browser displays full-size images. See Exhibit 2, pp. 5-6; Exhibit 5.
    7         30.    Page 1 of Exhibit 3 provides examples of some of the materials
    8   returned by Giganews and its newsreader in response to a search on “P10_Vol”
    9   using the Giganews newsreader Mimo’s default setting. The column entitled
   10   “Poster” has the “name” of the party that purportedly posted the material shown
   11   on the left hand side of page 1, to the Group (alt.binaries.amp) shown in the
   12   column furthest to the right. In this case the “name” of the purported poster is
   13   “here@there.com (rolly).” The column “Age” indicates the number of days that
   14   Giganews has stored these materials on its servers, and offered them to its
   15   customers, which in this case is 1,524 days, or slightly more than four years.
   16   Under the column headed “Subject,” are various materials, which are frequently
   17   mischaracterized as “articles,” suggesting some type of newsworthy purpose,
   18   when they are simply messages with infringing images. These “articles” end
   19   with terms such as “Rom_P10_Vol_4_#5_033_Julija_04.jpg.” This specific
   20   term indicates that the image comes from Perfect 10 Magazine Volume 4,
   21   Number 5, is the fourth image of a model whose first name is “Julija,” and is
   22   approximately the 33rd page of model images made available in that issue. The
   23   “articles” on page 1 of Exhibit 3 are largely consecutive pages from Perfect 10
   24   Magazine Volume 4, Number 5. Defendants offer to their users every page of
   25   that issue that contains a model image, along with other essentially complete
   26   issues of Perfect 10 magazine. See Exhibit 4.
   27         31.    Giganews also allows users to select a particular group of infringing
   28   materials (often mischaracterized as a “newsgroup” when it is simply pirated

                                                 8
                                  FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 10 of 126 Page ID
                                  #:5462



 1   material) and then conduct much more extensive searches just on that
 2   “newsgroup” as it is stored on Giganew’s servers.     Pages 2 and 3 of Exhibit 3
 3   provide a few examples of materials offered by Giganews from the “newsgroup”
 4   alt.binaries.pictures.diva. On page 2, two of the “articles” are titled “FP –
 5   P10_2005” and “FP P10_2004.” On page 3, there are files titled “FP –
 6   P10_2006” and “FP-P10_2007.” These names along with their massive file
 7   sizes (857 million bytes, 819 million bytes, 635 million bytes and 906 millon
 8   bytes, respectively) upon information and belief most likely mean that the files
 9   contain all of the material that was added to the Perfect 10 website in each of the
10   respective years 2004, 2005, 2006, and 2007. On page 3, there is also a file
11   offered entitled “P10Website April 2001FP” which is 74 million bytes, and
12   likely represents all of the new material that Perfect 10 put on its website in
13   April of 2001.
14         32.    Giganews allows its customers to download whatever images they
15   select on the Mimo screen, full-size, onto their computers. Exhibit 4 contains
16   examples of materials that were downloaded in this fashion by Perfect 10 on
17   March 14, 2013, more than 4 years after Perfect 10 sent its first notice to
18   Giganews. Exhibit 4 consists of what are essentially complete versions of
19   Perfect 10 magazine Volume 4 Number 4, Volume 4 Number 5, and Volume 4
20   Number 3. The thumbnails shown represent full-size images that were printed
21   by Perfect 10 for reasons of space. The images are offered to users full-size.
22   GIGANEWS DIRECTLY INFRINGES PERFECT 10’S DISPLAY RIGHT
23         33.    Giganews offers its news reader Mimo for free to its $34.99/month
24   diamond members. Giganews displays tens of thousands of full-size Perfect 10
25   images via that newsreader, as shown in Exhibit 5. Giganews is solely
26   responsible for the displays of the images shown in Exhibit 5, which Giganews
27   stores on its servers, sends to the user, and then displays on the user’s screen via
28   the Giganews Mimo browser.

                                               9
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 11 of 126 Page ID
                                  #:5463



 1       GIGANEWS DIRECTLY REPRODUCES PERFECT 10 IMAGES
 2           Giganews Itself Copies Perfect 10’s Copyrighted Works
 3         34.    Giganews has directly infringed Perfect 10 copyrighted works by
 4   reproduction in at least four different ways. First, Giganews itself (not its
 5   customers) has copied tens of thousands of Perfect 10 Copyrighted Works
 6   including works bearing Perfect 10 copyright notices from various Internet
 7   locations and placed those images on Giganews servers. Giganews refers to
 8   that part of the Internet where it made its copies as the “USENET.” However,
 9   the damage to Perfect 10 is the same whether Giganews copied its infringing
10   Perfect 10 images from the “USENET” or from some other Internet location.
11         35.    When Giganews goes to various Internet locations and makes
12   copies of thousands of Perfect 10 images, it is not at the direction of third
13   parties. Giganews itself elects to make such copies without permission from the
14   rights holders. Furthermore, Giganews has copied thousands of Perfect 10
15   images which display Perfect 10 copyright notices or from “articles” with
16   headings such as P10website or “FP-P10_2007” and therefore has knowledge of
17   that infringement before it makes those copies.
18        Reproduction Occurs When Giganews’ Customers Request Copies
19         36.    Second, when a Giganews customer makes a request for a copy of a
20   Perfect 10 image from Giganews’ servers, Giganews makes a copy of that image
21   and sends it over the Internet to that user. At the end of this operation, an
22   additional copy of that Perfect 10 image resides with that Giganews customer.
23   If 1,000 Giganews customers ask for the same image, Giganews will make 1,000
24   copies of that image and distribute those copies to those customers. The
25   technical procedure by which Giganews reproduces and distributes copies of
26   infringing materials upon request, is not substantially different from the
27   operation of any other infringing password protected paysite.
28               Giganews Reproduces Perfect 10 Images for Livewire

                                              10
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 12 of 126 Page ID
                                  #:5464



 1         37.    Third, when a Livewire customer makes a request for a copy of a
 2   Perfect 10 image, that image is either reproduced by Giganews and a copy
 3   directly distributed through the Internet to the user by Giganews at Livewire’s
 4   request, or, in the alternative, Giganews had reproduced that image at an earlier
 5   time and already provided it to Livewire so that it was residing on Livewire’s
 6   servers. In either case, Giganews reproduced and distributed that image, either
 7   directly to the Livewire user, or directly to Livewire.
 8         Reproduction Occurs When a Customer Uploads an Image
 9         38.    Fourth, in the less frequent instance where a user wishes to upload a
10   Perfect 10 image to Giganews’ servers (Giganews claims that more than 20% of
11   the material on its servers is uploaded by users, see Exhibit 2, p. 4), if that
12   happens at all, Giganews elects to create a copy of that image and place it on
13   Giganews’ servers, thus again creating an additional infringing copy. Giganews
14   can refuse to create such copies and store them on its servers, particularly if they
15   are of materials that are obviously infringing on their face, such as blockbuster
16   full-length Hollywood movies, musical albums, celebrity fakes, or groups of
17   images with titles such as “perfecttengallery” or “P10 website.”
18         39.    When users actually upload a Perfect 10 image to Giganews’
19   servers, it is not stored at the direction of a third party because Giganews keeps
20   that material as long as it desires, currently 1677 days, independent of the user’s
21   wishes. In other words, once the image or movie has been uploaded by an
22   independent third party (if this ever occurs), that image or movie is under the
23   complete control of Giganews and is used by Giganews for commercial purposes
24   without the rights holder’s permission for as long as Giganews desires.
25                 Giganews’ Involvement With Purported Uploaders
26         40.    In addition, Perfect 10 alleges on information and belief, that one or
27   more of the purported uploaders of infringing Perfect 10 images, either to the
28   “USENET,” or to Giganews’ servers, have been Giganews’ employees. Perfect

                                               11
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 13 of 126 Page ID
                                  #:5465



 1   10 bases this allegation on a number of facts. First, the identities of the
 2   purported uploaders of infringing Perfect 10 images to either the USENET or to
 3   Giganews’s servers, consist of “names” like here@there.com, me@not.eu, and
 4   nowhere@somewhere.com, which are all obviously phony. See Exhibit 9.
 5   Perfect 10 has repeatedly asked Giganews for the true identities of such parties.
 6   Giganews has refused to identify any of them. Giganews has further not sent
 7   Perfect 10 any counter notifications from the parties who Giganews claimed
 8   uploaded Perfect 10 images, in response to Perfect 10’s DMCA notices.
 9         41.    Second, the parties who purportedly uploaded Perfect 10’s website
10   to the USENET and/or to Giganews’ servers, appear to have done so in an
11   extraordinarily organized and professional fashion. Those who uploaded Perfect
12   10 material did not upload just a few images at random – they uploaded
13   essentially the entire Perfect 10 website. The files are massive in size, and
14   would take months to aggregate and upload. For example, to upload all of the
15   Perfect 10 magazines as Giganews offers them (see, e.g., Exhibit 4), someone
16   would have to purchase each magazine, tear it into separate pages, purchase a
17   high quality scanner, scan each page, and then label each page by Volume and
18   Issue number, model name, and even count the number of pages with images on
19   them and include that number as well. See Exhibit 3, p. 1; Exhibit 4. Not only
20   does it appear that the materials added to the website during a particular year
21   have been added as separate zipped files (see Exhibit 3, pp. 2-3), but the
22   purported posters appear to know what other posters have contributed. For
23   example, page 4 of Exhibit 3 shows an instance in which one poster,
24   “me@not.eu” stopped posting at image 433, and then 23 days later, another
25   poster, “Yenc@power-post.org” continued posting with image 434 from the
26   identical set of Perfect 10 images.
27         42.    Third, the time required to upload an entire major Hollywood
28   movie was overwhelming just a few years ago, and still enormous. The movie

                                              12
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 14 of 126 Page ID
                                  #:5466



 1   typically has to be broken into many pieces, and each piece has to be uploaded
 2   separately. To upload hundreds of movies to USENET or to Giganews’ servers,
 3   would be a full-time job, and subject the uploader to severe penalties for
 4   criminal copyright infringement. It is highly unlikely that anyone would take
 5   such a risk and undertake such a time consuming project without substantial
 6   compensation.
 7         43.    Fourth, Megaupload.com, an entity whom Perfect 10 sued
 8   previously, also claimed that its users, and not it, uploaded infringing materials
 9   to its servers. Yet, the Justice Department, in furtherance of a criminal
10   prosecution, discovered emails involving Bram Van Der Kolk (the main
11   programmer for Megaupload.com and its DMCA agent) which shows that
12   Megaupload itself uploaded massive quantities of copyrighted works to its own
13   servers. See Exhibit 10, pp. 19-20, 29, 32-33, 39-40. Thus, it is reasonable to
14   conclude that Giganews – which similarly derives extraordinary financial
15   benefits from the ability to supply pirated works – likewise uploads the
16   infringing materials as well either to the USENET, or to its own servers.
17        GIGANEWS DIRECTLY DISTRIBUTES PERFECT 10 IMAGES
18          44.   When a user requests a Perfect 10 image from Giganew’s servers,
19   Giganews must make a copy of that image and then send it via the Internet to the
20   user. In the process Giganews directly infringes Perfect 10’s distribution right.
21                GIGANEWS’ KNOWLEDGE OF INFRINGEMENT
22         45.    On March 25, 2009, Perfect 10 sent to Ronald Yokubaitis, the
23   DMCA agent for Giganews and Livewire, a notice identifying approximately
24   800 Perfect 10 Copyrighted Images, a number of which displayed Perfect 10
25   copyright notices. Giganews wrote back claiming that it could not find the
26   allegedly infringing images based on that notice, which was simply not correct.
27   Giganews could have found each and every one of those images by using its
28   own search function to search for the image identifiers provided with Perfect

                                              13
                               FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 15 of 126 Page ID
                                  #:5467



 1   10’s notice. Once it found an infringing Perfect 10 image in a particular group
 2   of such images, it could have blocked other Perfect 10 images displaying Perfect
 3   10 copyright notices in that same group, but elected not to do so.
 4         46.    Between June 28, 2011 and August 17, 2011, Perfect 10 sent to the
 5   DMCA agent for Giganews and Livewire services, Ronald Yokubaitis, at least
 6   41 additional DMCA notices which identified approximately 14,560 infringing
 7   copies of Perfect 10 images stored on Defendants’ servers, and offered to the
 8   public. In those notices, Perfect 10 explained how Defendants could readily find
 9   and remove such images. For example, on August 18, 2011, Perfect 10 sent a
10   notice which stated, “I obtained all of the images in this notice (which are all
11   infringing) by doing a newsrover search on 8/17/2011 on ‘P10 Vol 3 04.’ All of
12   the images that appear as a result of that search are copyrighted by Perfect 10. I
13   have included below each infringing image the image identifier for that image,
14   which as I explained previously, can be searched on using News Rover to find
15   the infringing post. Any portion of that image identifier can be searched on as
16   well. Because the image identifiers of all of the images in this notice contain the
17   term ‘P10 Vol 3 04,’ that is the logical term to search on.”
18         47.    In response to Perfect 10’s notices of August 6 through August 18,
19   which identified approximately 923 Perfect 10 copyrighted images, Perfect 10
20   received a letter from attorneys representing Giganews, stating that Giganews
21   would process those notices, confirming what Perfect 10 had been saying all
22   along, which is that its notices provided Defendants with sufficient information
23   to find and remove the infringing material.
24         48.    On January 3, 2012, Perfect 10 complained to Visa about
25   Giganews’ infringement of other Perfect 10 images. Perfect 10 sent Visa a
26   DMCA notice identifying approximately 484 Perfect 10 images. Perfect 10
27   subsequently received an email from Visa stating that those images had been
28   removed as well.

                                              14
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 16 of 126 Page ID
                                  #:5468



 1         49.    At least four other Usenet “providers” have processed notices
 2   similar to notices which Perfect 10 has sent to Defendants.
 3         50.    Perfect 10 has also sent to the DMCA agent for Giganews and
 4   Livewire services, Ronald Yokubaitis, DMCA notices which identified at least
 5   several hundred celebrity fake images consisting of a celebrity’s face
 6   superimposed on the body of a Perfect 10 copyrighted image (which was
 7   typically tasteful). See Exhibit 6 for several such examples of images offered by
 8   Defendants, which consist of the faces of Christina Aguilera, Bridget Fonda,
 9   Halle Berry, Jennifer Lopez, Kate Beckinsale, Katie Holmes, and Natalie
10   Portman, superimposed on portions of images copyrighted by Perfect 10.
11         51.    Perfect 10 also sent to the DMCA agent for Giganews and
12   Livewire services, examples of images which Defendants were selling to their
13   uses, which consisted images of a celebrity’s face superimposed on a third party
14   image depicting explicit sex, so that the overall image was highly defamatory.
15   As far as Perfect 10 can determine, Defendants have never taken any action to
16   stop providing thousands of such defamatory images to their users.
17         52.    Between June 25, 2011, and September 24, 2011, Perfect 10 has
18   sent to Giganews at least 10 unfair competition notices which identified in total,
19   at least 165 pages of obviously infringing materials that Giganews was making
20   available to its users without permission from the rights holders. This material
21   included many songs by ABBA, Avril Lavigne, Billy Idol, Bon Jovi, Carlos
22   Santana, Celine Dion, Craig David, Duran Duran, the Eagles, Eminem,
23   Fleetwood Mac, Genesis, James Taylor, Jimmy Hendrix, Mariah Carey, Michael
24   Jackson, Oasis, Pear Jam, Phil Collins, Shakira, The Phantom of the Opera,
25   Tracy Champman, and Whitney Houston; episodes of TV series such as CSI
26   Miami; pages of pirated software offered by Giganews belonging to Microsoft
27   (such as the Windows 7 and XP operating systems), Apple, Disney, Adobe,
28   Oracle, and Sony; pages of material clearly marked “bootlegged;” and examples

                                             15
                               FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 17 of 126 Page ID
                                  #:5469



 1   of the infringement and/or dilution of Perfect 10’s trademarks by Defendants.
 2   (See Exhibit 11 for a sample). Perfect 10 explained to Giganews that such
 3   materials were obviously infringing and that Perfect 10 could not compete with
 4   entities like Giganews, which steal and sell massive quantities of obviously
 5   copyrighted works, in competition against Perfect 10, who pays for materials it
 6   sells. As far as Perfect 10 can tell, Giganews did absolutely nothing in response
 7   to those notices.
 8            53. Giganews has copied thousands of Perfect 10 images which display
 9   Perfect 10 copyright notices or from “articles” with headings such as
10   “P10website” or “FP-P10_2007” and therefore has knowledge of that
11   infringement before it makes those copies. By offering its users massive
12   quantities of Perfect 10 images and other pirated materials for next to nothing,
13   by providing its users with the Mimo newsreader and enormous bandwidth to
14   download massive quantities of infringing images at superhigh speeds, and by
15   offering its users the ability to conceal their infringing activities via Giganew’s
16   VyprVPN software, Giganews induces its customers to infringe on a massive
17   scale.
18            54. Giganews has knowledge, when it elects to make copies of fake
19   images of celebrities from “newsgroups” such as alt.binaries.celeb.fake and
20   alt.binaries.pictures.nude.celebrities.fake, that it is copying and distributing
21   obviously unauthorized images. Hundreds of the images from those groups use
22   a Perfect 10 image for the purported body of the celebrity and infringe Perfect
23   10’s copyrights. See Exhibit 7.
24            55. Whereas the USENET may have at one time contained significant
25   amounts of legal materials, most of the interest in the USENET is now centered
26   around material in the “alt.binaries.*” newsgroups, which consist almost
27   exclusively of pirated materials, including movies, songs, images, and computer
28   software. Categories under the alt.binaries hierarchy include “movies,”

                                               16
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 18 of 126 Page ID
                                  #:5470



 1   “pictures” and “warez” (which refers to illegal copies of copyrighted works.).
 2   On April 20, 2011, the alt.binaries.warez newsgroup contained 141,614,302
 3   articles. As of April 20, 2011, 99% of the “articles” in the alt.binaries.*
 4   newsgroup were pirated copyrighted works. A number of Internet service
 5   providers such as Sprint and Verizon have blocked their users’ access to the
 6   alt.binaries.* newsgroups. Defendants’ ability to generate monthly subscriptions
 7   and revenues is based almost exclusively on the demand for pirated copyrighted
 8   works contained in the alt.binaries* hierarchies. Examples of obviously
 9   infringing “newsgroups” offered by Giganews are shown in Exhibit 7. Exhibit 7
10   consists of groups whose names clearly indicate infringement, which include the
11   Trademarked terms “Playboy,” the “Beatles,” and the term “warez,” as well as
12   the term “movie.”
13         56. The “USENET” now is well known to consist almost exclusively of
14   obviously infringing materials. In fact, approximately 99.9% of the “USENET”
15   now consists of materials stored on the servers of 13 infringing websites,
16   including Giganews.com, according to the website newsadmin.com. See Exhibit
17   8. The operators of these 13 infringing websites often refer to themselves as
18   “USENET providers” in order to attempt to shield themselves from liability for
19   what they actually are -- massive infringers of copyright.
20         57. Giganews is aware that it is illegally copying, reproducing,
21   distributing, displaying, and selling massive quantities of infringing materials
22   because it does not own the rights to any of the materials.
23   GIGANEWS HAS COMPLETE CONTROL OVER THE MATERIAL IT
24                              PROVIDES TO ITS USERS
25         58.    Giganews completely controls the materials that it offers to its users
26   and the materials it copies without permission of the copyright holder. For
27   example, Giganews could elect not to copy any content from newsgroups that
28   are infringing on their face, such as alt.binaries.celeb.fake, or ,

                                               17
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 19 of 126 Page ID
                                  #:5471



 1   alt.binaries.dvd.movies. Giganews also controls how long it stores such
 2   unauthorized materials on its servers, and whether it sells or displays them to its
 3   users. Upon information and belief, Giganews also controls and determines not
 4   only the materials it provides to users who employ the Mimo browser’s default
 5   setting, but even offers a significant number of Perfect 10 infringing images as
 6   one file in zipped format (see Exhibit 3, pp. 2-3), unlike at least one other
 7   newsreader, Newsrover.
 8                           THE BUSINESS OF LIVEWIRE
 9         59.    Livewire owned, operated, and/or controlled the Internet websites
10   located at rhinonewsgroups.com, powerusenet.com, infinityusenet.com,
11   eurousenet.com, galacticgroups.com, cheapnewsgroups.com, fastusenet.com,
12   usenetgiant.com, and usenet.net, among others. Livewire sells the infringing
13   material it receives from Giganews at different prices, depending on usage.
14   Livewire contracts with Giganews for content, the vast preponderance of which,
15   such a full length movies, popular songs, computer software, and images of
16   celebrities as well as celebrity fakes, is obviously infringing. It sells that content
17   to its users. Livewire offers a substantial portion of the infringing content
18   offered by Giganews. Upon information and believe, Livewire is operated
19   and/or controlled by the Yokubaitis family, which also operates or controls
20   Giganews.
21               LIVEWIRE’S KNOWLEDGE OF INFRINGEMENT
22         60.    The DMCA agent for Livewire, Ronald Yokubaitis, is also the
23   DMCA agent for Giganews. Furthermore, Livewire contracts with Giganews to
24   receive Perfect 10 images (and other infringing material) from Giganews.
25   Consequently, the 42 DMCA notices that Perfect 10 provided to Ronald
26   Yokubaitis (the DMCA agent for both Giganews and Livewire), provided both
27   companies with sufficient knowledge of infringement for the purposes of Perfect
28   10’s contributory liability claim against Livewire.

                                               18
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 20 of 126 Page ID
                                  #:5472



 1         61.    Livewire also has knowledge that it is offering infringing Perfect 10
 2   images and other infringing materials because of the names of the groups it is
 3   offering, such as “P10Website,” “perfecttengallery,” and “P10 Vol 3 #4,”
 4   because most of the Perfect 10 images that it offers display Perfect 10 copyright
 5   notices (see Exhibits 3 and 5); because it has no rights to the material it is
 6   offering and knows that Giganews has no rights as well; and because it should
 7   know that celebrity fake images (see Exhibit 6), full length Hollywood movies,
 8   recent songs by major recording artists, and Windows 7 operating systems and
 9   other major software programs cannot possibly be legally copied and distributed
10   by Livewire without permission from the rights holders. By offering its users
11   massive quantities of pirated materials for next to nothing, Livewire induces its
12   customers to infringe.
13         LIVEWIRE’S DIRECT AND SECONDARY INFRINGEMENT
14         62.    A number of Livewire websites are hosted by 1and1 Internet in
15   Pennsylvania, which on information and belief, is a hosting company distinct
16   from Giganews’ Data Foundry hosting company in Austin, TX. To the extent
17   that the images offered by Livewire websites reside on servers owned or
18   controlled by Livewire (see paragraph 37, above), Livewire directly infringes
19   Perfect 10’s reproduction right when it makes copies of images requested by its
20   users and then provides those copies to them, as discussed with respect to
21   Giganews above at paragraphs 36-37. Livewire directly infringes Perfect 10’s
22   distribution right when it sends those copies of Perfect 10 images to its users
23   over the Internet. In either event, Livewire materially contributes to the
24   infringement of Perfect 10 images by contracting to receive them from
25   Giganews and selling them to Livewire customers.
26         63.   Livewire has complete control over the materials it purchases from
27   Giganews and provides to its clients. It has complete control over Giganews, the
28   infringer from which it receives its content, because Livewire is

                                               19
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 21 of 126 Page ID
                                  #:5473



 1   owned/operated/and or controlled by the same parties (the Yokubaitis family).
 2         64.    Livewire financially benefits from the infringing materials it
 3   provides to its users, and in fact, virtually its entire business is based on the
 4   infringing materials it provides. Like Giganews, Livewire charges different
 5   prices to its users depending on the amount and speed with which they desire
 6   their content.
 7         65.    Giganews and Livewire have in total, copied, distributed, displayed,
 8   and sold, more than 267,000 copies of Perfect 10 copyrighted images, most of
 9   which display Perfect 10 copyright notices, and in addition, are in groups of
10   images which contain a Perfect 10 trademark in their description, such as
11   “Perfect10” or “P10 Website.”
12         66.    All of the Perfect 10 Copyrighted Works which Defendants provide
13   to consumers are used without authorization. Defendants engage in and
14   facilitate the massive and ongoing violations of Perfect 10’s rights (as well as
15   third-party rights) even though Defendants are aware that Perfect 10 never
16   authorized or consented to the use by Defendants of the Perfect 10 Copyrighted
17   Works, the Perfect 10 Marks, or the Perfect 10 Rights of Publicity.
18
19                             FIRST CLAIM FOR RELIEF
20                               (Copyright Infringement)
21                                 Against All Defendants
22         67.    Perfect 10 re-avers and incorporates herein by reference each and
23   every averment of paragraphs 1 through 66 above as though fully set forth
24   herein.
25         68.    Perfect 10 is the owner of all right, title, and interest to each of the
26   Perfect 10 Copyrighted Works. Perfect 10 has registered its works with the
27   United States Copyright Office. Perfect 10 has been issued United States
28   copyright certificates some of which are listed on Exhibit 1, attached hereto.

                                               20
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 22 of 126 Page ID
                                  #:5474



 1         69.    Each of the Perfect 10 Copyrighted Works consists of material
 2   original with Perfect 10 and each is copyrightable subject matter.
 3         70.    Defendants have copied, reproduced, distributed, adapted, and/or
 4   publicly displayed the Perfect 10 Copyrighted Works without the consent or
 5   authority of Perfect 10, thereby directly infringing Perfect 10’s copyrights. An
 6   example of Giganews’ direct infringement of Perfect 10’s copyrighted works by
 7   display is shown in Exhibit 5. Giganews’ involvement in the direct infringement
 8   of Perfect 10’s copyrights is explained in paragraphs 33-44.
 9         71.    Defendants’ conduct constitutes infringement of Perfect 10’s
10   copyrights and exclusive rights under copyright in the Perfect 10 Copyrighted
11   Works in violation of Sections 106 and 501, et. seq. of the United States
12   Copyright Act, 17 U.S.C. §§106 and 501.
13         72.    Defendants have induced, caused, turned a blind eye toward, aided
14   and abetted, and/or materially contributed to unauthorized copying,
15   reproduction, adaptation, public display, and/or distribution of the Perfect 10
16   Copyrighted Works. By offering their customers massive quantities of pirated
17   materials for next to nothing, providing them with the enormous bandwidth
18   necessary to download massive quantities of copyrighted content at high speed,
19   and further offering their users the ability to conceal their infringing activities,
20   Defendants have induced their customers to infringe.
21         73.    Defendants have knowledge of infringement, based on the 42
22   DMCA notices that they have received from Perfect 10, the fact that the notices
23   were sent to the DMCA agent for both Giganews and Livewire, and for a
24   number of other reasons, including that Defendants know that they do not have
25   any rights to copy, display, distribute, or sell Perfect 10 images, and because
26   most of those images display Perfect 10 copyright notices.
27         74.    Defendants’ conduct constitutes contributory infringement of
28   Perfect 10’s copyrights and exclusive rights under copyright in the Perfect 10

                                               21
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 23 of 126 Page ID
                                  #:5475



 1   Copyrighted Works.
 2         75.    Defendants have directly profited from the infringement of Perfect
 3   10’s copyrighted works, and possess the right and ability to stop the sale of those
 4   works to their customers because they control every aspect of the copying,
 5   distribution, and sale of the pirated materials that are stored on their servers.
 6         76.    Defendants’ conduct constitutes vicarious infringement of Perfect
 7   10’s copyrights and exclusive rights under copyright in the Perfect 10
 8   Copyrighted Works.
 9         77.    The infringement of Perfect 10’s rights in and to each of the Perfect
10   10 Copyrighted Works constitutes a separate and distinct act of infringement.
11         78.    The acts of infringement by Defendants have been willful,
12   intentional, and purposeful, in reckless disregard of and with indifference to the
13   rights of Perfect 10.
14         79.    As a direct and proximate result of the infringements by Defendants
15   of Perfect 10’s copyrights and exclusive rights under copyright in the Perfect 10
16   Copyrighted Works, Perfect 10 is entitled to its actual damages and Defendants’
17   profits pursuant to 17 U.S.C. § 504(b).
18         80.    Alternatively, Perfect 10 is entitled to statutory damages, pursuant
19   to 17 U.S.C. § 504(c).
20         81.    Defendants’ conduct is causing and, unless enjoined and restrained
21   by this Court, will continue to cause, Perfect 10 great and irreparable injury that
22   cannot fully be compensated in money. Perfect 10 has no adequate remedy at
23   law. Pursuant to 17 U.S.C. § 502, Perfect 10 is entitled to injunctive relief
24   prohibiting further infringements of Perfect 10’s copyrights.
25         82.    Perfect 10 further is entitled to its attorneys’ fees and costs pursuant
26   to 17 U.S.C. § 505.
27
28

                                               22
                                FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 24 of 126 Page ID
                                  #:5476



 1                                PRAYER FOR RELIEF
 2           WHEREFORE, plaintiff Perfect 10 prays for judgment against
 3   Defendants, and each of the Doe Defendants, jointly and severally, as follows:
 4           1.    That Defendants and their officers, agents, servants, employees,
 5   representatives, successors, and assigns, and all persons in active concert or
 6   participation with them, be temporarily, preliminarily and permanently enjoined
 7   from:
 8                 a.     copying, reproducing, distributing, adapting, selling access
 9           to, or publicly displaying the Perfect 10 Copyrighted Works;
10                 b.     posting Perfect 10 copyrighted photographs on the internet;
11                 c.     copying, reproducing, distributing, adapting, selling access
12           to, or publicly displaying celebrity fakes which place a celebrity’s face on
13           the body of an image copyrighted by Perfect 10; and
14                 d.     inducing, causing, materially contributing to, and profiting
15           from the foregoing acts committed by others.
16           2.    That Defendants be ordered to destroy all photographs, documents,
17   and other items, electronic or otherwise, in its possession, custody, or control,
18   that infringe the copyrights, trademarks, or rights of publicity of Perfect 10.
19           3.    For an order of restitution and/or disgorgement in the amount of the
20   benefit to Defendants by reason of their unlawful conduct, in an amount to be
21   proven at trial, but not less than $5 million.
22           4.    For Perfect 10’s actual damages, in an amount to be proven at trial,
23   but not less than $5 million.
24           5.    For a full accounting of all profits, income, receipts, or other
25   benefits derived by Defendants as a result of its unlawful conduct.
26           6.    For statutory damages under the Copyright Act, in an amount to be
27   proven at trial, but not less than $5 million.
28           7.    For punitive damages.

                                               23
                                 FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 25 of 126 Page ID
                                  #:5477



 1         8.       For the imposition of a constructive trust.
 2         9.       For attorneys’ fees and full costs.
 3         10.      For such other and further relief as this Court deems just and
 4   appropriate.
 5   Dated: March 21, 2013                 Respectfully submitted,
                                           PERFECT 10, INC.
 6
 7
                                           By:
 8
                                           Natalie Locke
 9                                         Attorneys for Plaintiff
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 24
                                 FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 26 of 126 Page ID
                                  #:5478



 1                           DEMAND FOR JURY TRIAL
 2         Perfect 10 hereby demands a jury trial pursuant to Rule 38(b) of the
 3   Federal Rules of Civil Procedure.
 4   Dated: March 21, 2013               Respectfully submitted,
                                         PERFECT 10, INC.
 5
 6
                                         By:
 7
                                         Natalie Locke
 8                                       Attorneys for Plaintiff
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               25
                              FIRST AMENDED COMPLAINT
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 27 of 126 Page ID
                                  #:5479




              First Amended Complaint
                      Exhibit 1




                                               First Amended Complaint Exhibit 1
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 28 of 126 Page ID
                                      #:5480
                                          
                      PERFECT 10’S COPYRIGHT REGISTRATIONS 


    TX 4‐556‐514      TX 6‐203‐680              V3560 D878     VA 1‐301‐850 
    TX 4‐556‐511      TX 6‐203‐677              V3569 D607     VA 1‐301‐851 
    TX 4‐556‐482      TX 6‐543‐260              V3569 D607     VA 1‐301‐852 
    TX 4‐556‐510      TX 6‐543‐478              V3569D607      VA 1‐307‐983 
    TX 4‐556‐475       VA 996‐673              VA 1‐201‐268    VA 1‐307‐984 
    TX 4‐556‐541      VA 1‐085‐670             VA 1‐201‐268    VA 1‐307‐985 
    TX 4‐812‐575      VA 1‐177‐241             VA 1‐201‐269    VA 1‐307‐986 
    TX 4‐813‐355      VA 1‐230‐966             VA 1‐202‐771    VA 1‐308‐089 
    TX 4‐812‐793      VA 1‐289‐549             VA 1‐207‐270    VA 1‐308‐090 
    TX 4‐813‐026      VA 1‐289‐550             VA 1‐208‐244    VA 1‐308‐136 
    TX 4‐812‐972      VA 1‐289‐701             VA 1‐208‐275    VA 1‐308‐137 
    TX 4‐813‐344      VA 1‐289‐809             VA 1‐208‐295    VA 1‐308‐138 
    TX 4‐813‐338      VA 1‐308‐085             VA 1‐221‐373    VA 1‐313‐231 
    TX 4‐813‐390      VA 1‐308‐126             VA 1‐230‐967    VA 1‐321‐521 
    TX 5‐172‐229      VA 1‐308‐128             VA 1‐231‐092    VA 1‐321‐522 
    TX 5‐201‐630      VA 1‐313‐176             VA 1‐231‐093    VA 1‐321‐523 
    TX 5‐217‐598      VA 1‐337‐645             VA 1‐289‐551    VA 1‐321‐524 
    TX 5‐328‐427      VA 1‐351‐877             VA 1‐289‐552    VA 1‐321‐525 
    TX 5‐328‐528      VA 1‐359‐323             VA 1‐289‐553    VA 1‐321‐527 
    TX 5‐328‐636      VA 1‐377‐136             VA 1‐289‐554    VA 1‐337‐644 
    TX 5‐488‐941      VA 1‐377‐240             VA 1‐289‐555    VA 1‐337‐664 
    TX 5‐488‐942      VA 1‐394‐707             VA 1‐289‐556    VA 1‐340‐262 
    TX 5‐451‐806      VA 1‐407‐570             VA 1‐289‐557    VA 1‐341‐527 
    TX 5‐452‐020      VA 1‐410‐598             VA 1‐289‐566    VA 1‐345‐740 
    TX 5‐452‐132      VA 1‐422‐627             VA 1‐289‐569    VA 1‐345‐743 
    TX 5‐452‐254       VA 987‐612              VA 1‐289‐570    VA 1‐345‐745 
    TX 5‐452‐489      VA 1‐026‐167             VA 1‐289‐571    VA 1‐345‐747 
    TX 5‐802‐012       V3498 D888              VA 1‐289‐573    VA 1‐347‐289 
    TX 5‐802‐272       V3527 D778              VA 1‐289‐576    VA 1‐356‐951 
    TX 5‐802‐273       V3527 D778              VA 1‐289‐577    VA 1‐356‐952 
    TX 5‐910‐170       V3527 D779              VA 1‐289‐578    VA 1‐369‐768 
    TX 5‐910‐171       V3527 D779              VA 1‐289‐580    VA 1‐377‐135 
    TX 6‐058‐397       V3527D779               VA 1‐289‐582    VA 1‐377‐248 
    TX 5‐910‐331       V3532 D237              VA 1‐289‐661    VA 1‐386‐685 
    TX 6‐114‐746       V3532 D238              VA 1‐289‐662    VA 1‐391‐325 
    TX 6‐114‐841       V3532 D238              VA 1‐289‐663    VA 1‐391‐326 
    TX 6‐114‐841       V3537 D147              VA 1‐289‐664    VA 1‐391‐546 
    TX 6‐115‐010       V3537 D147              VA 1‐289‐666    VA 1‐391‐550 
    TX 6‐346‐157       V3560 D787              VA 1‐289‐704    VA 1‐391‐551 
    TX 6‐346‐128       V3560 D878              VA 1‐289‐705    VA 1‐391‐552 


                                      ‐ 1 ‐ 
                                                                        Exh. 1, Pg. 1
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 29 of 126 Page ID
                                      #:5481
                                          
                      PERFECT 10’S COPYRIGHT REGISTRATIONS 


    VA 1‐392‐589      VA 1‐397‐076             VA 1‐428‐519    VA 1‐428‐560 
    VA 1‐392‐590      VA 1‐397‐077             VA 1‐428‐520    VA 1‐428‐561 
    VA 1‐392‐864      VA 1‐397‐963             VA 1‐428‐521    VA 1‐428‐562 
    VA 1‐393‐373      VA 1‐401‐161             VA 1‐428‐522    VA 1‐428‐564 
    VA 1‐394‐067      VA 1‐401‐162             VA 1‐428‐523    VA 1‐428‐565 
    VA 1‐396‐363      VA 1‐410‐409             VA 1‐428‐524    VA 1‐428‐566 
    VA 1‐396‐364      VA 1‐424‐074             VA 1‐428‐525    VA 1‐428‐567 
    VA 1‐396‐367      VA 1‐425‐191             VA 1‐428‐526    VA 1‐428‐596 
    VA 1‐396‐368      VA 1‐426‐141             VA 1‐428‐527    VA 1‐428‐730 
    VA 1‐396‐369      VA 1‐426‐142             VA 1‐428‐528    VA 1‐428‐731 
    VA 1‐396‐370      VA 1‐426‐143             VA 1‐428‐529    VA 1‐428‐732 
    VA 1‐396‐375      VA 1‐426‐144             VA 1‐428‐530    VA 1‐428‐733 
    VA 1‐396‐376      VA 1‐426‐145             VA 1‐428‐531    VA 1‐428‐734 
    VA 1‐396‐377      VA 1‐426‐146             VA 1‐428‐533    VA 1‐428‐736 
    VA 1‐396‐379      VA 1‐426‐147             VA 1‐428‐534    VA 1‐428‐738 
    VA 1‐396‐383      VA 1‐426‐148             VA 1‐428‐535    VA 1‐428‐740 
    VA 1‐396‐384      VA 1‐426‐149             VA 1‐428‐536    VA 1‐428‐741 
    VA 1‐396‐390      VA 1‐426‐150             VA 1‐428‐537    VA 1‐428‐742 
    VA 1‐396‐393      VA 1‐426‐151             VA 1‐428‐538    VA 1‐428‐743 
    VA 1‐396‐394      VA 1‐426‐288             VA 1‐428‐539    VA 1‐428‐744 
    VA 1‐396‐396      VA 1‐426‐289             VA 1‐428‐540    VA 1‐428‐745 
    VA 1‐396‐397      VA 1‐426‐290             VA 1‐428‐541    VA 1‐428‐746 
    VA 1‐397‐049      VA 1‐426‐291             VA 1‐428‐542    VA 1‐428‐751 
    VA 1‐397‐050      VA 1‐426‐292             VA 1‐428‐543    VA 1‐428‐752 
    VA 1‐397‐051      VA 1‐426‐293             VA 1‐428‐544    VA 1‐428‐753 
    VA 1‐397‐052      VA 1‐426‐294             VA 1‐428‐545    VA 1‐428‐754 
    VA 1‐397‐053      VA 1‐428‐251             VA 1‐428‐546    VA 1‐428‐755 
    VA 1‐397‐054      VA 1‐428‐506             VA 1‐428‐547    VA 1‐428‐756 
    VA 1‐397‐055      VA 1‐428‐507             VA 1‐428‐548    VA 1‐428‐757 
    VA 1‐397‐056      VA 1‐428‐508             VA 1‐428‐549    VA 1‐428‐758 
    VA 1‐397‐057      VA 1‐428‐509             VA 1‐428‐550    VA 1‐428‐759 
    VA 1‐397‐058      VA 1‐428‐510             VA 1‐428‐551    VA 1‐428‐760 
    VA 1‐397‐059      VA 1‐428‐511             VA 1‐428‐552    VA 1‐428‐761 
    VA 1‐397‐060      VA 1‐428‐512             VA 1‐428‐553    VA 1‐428‐763 
    VA 1‐397‐061      VA 1‐428‐513             VA 1‐428‐554    VA 1‐428‐764 
    VA 1‐397‐062      VA 1‐428‐514             VA 1‐428‐555    VA 1‐428‐765 
    VA 1‐397‐064      VA 1‐428‐515             VA 1‐428‐556    VA 1‐428‐766 
    VA 1‐397‐070      VA 1‐428‐516             VA 1‐428‐557    VA 1‐428‐767 
    VA 1‐397‐071      VA 1‐428‐517             VA 1‐428‐558    VA 1‐428‐768 
    VA 1‐397‐075      VA 1‐428‐518             VA 1‐428‐559    VA 1‐428‐769 


                                      ‐ 2 ‐ 
                                                                        Exh. 1, Pg. 2
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 30 of 126 Page ID
                                      #:5482
                                          
                      PERFECT 10’S COPYRIGHT REGISTRATIONS 


    VA 1‐428‐770      VA 1‐429‐185             VA 1‐429‐232    VA 1‐429‐275 
    VA 1‐428‐772      VA 1‐429‐186             VA 1‐429‐234    VA 1‐429‐276 
    VA 1‐428‐773      VA 1‐429‐190             VA 1‐429‐235    VA 1‐429‐277 
    VA 1‐428‐774      VA 1‐429‐191             VA 1‐429‐236    VA 1‐429‐279 
    VA 1‐428‐775      VA 1‐429‐192             VA 1‐429‐237    VA 1‐429‐280 
    VA 1‐429‐008      VA 1‐429‐194             VA 1‐429‐238    VA 1‐429‐282 
    VA 1‐429‐009      VA 1‐429‐195             VA 1‐429‐239    VA 1‐429‐283 
    VA 1‐429‐010      VA 1‐429‐196             VA 1‐429‐240    VA 1‐429‐441 
    VA 1‐429‐012      VA 1‐429‐198             VA 1‐429‐241    VA 1‐429‐442 
    VA 1‐429‐016      VA 1‐429‐200             VA 1‐429‐242    VA 1‐429‐443 
    VA 1‐429‐017      VA 1‐429‐201             VA 1‐429‐243    VA 1‐429‐444 
    VA 1‐429‐018      VA 1‐429‐202             VA 1‐429‐244    VA 1‐429‐445 
    VA 1‐429‐020      VA 1‐429‐203             VA 1‐429‐245    VA 1‐429‐446 
    VA 1‐429‐024      VA 1‐429‐204             VA 1‐429‐246    VA 1‐429‐447 
    VA 1‐429‐027      VA 1‐429‐205             VA 1‐429‐247    VA 1‐429‐448 
    VA 1‐429‐028      VA 1‐429‐206             VA 1‐429‐248    VA 1‐429‐449 
    VA 1‐429‐160      VA 1‐429‐207             VA 1‐429‐249    VA 1‐429‐453 
    VA 1‐429‐161      VA 1‐429‐208             VA 1‐429‐250    VA 1‐429‐454 
    VA 1‐429‐162      VA 1‐429‐209             VA 1‐429‐252    VA 1‐429‐455 
    VA 1‐429‐163      VA 1‐429‐210             VA 1‐429‐253    VA 1‐429‐456 
    VA 1‐429‐164      VA 1‐429‐211             VA 1‐429‐254    VA 1‐429‐457 
    VA 1‐429‐165      VA 1‐429‐212             VA 1‐429‐255    VA 1‐429‐458 
    VA 1‐429‐166      VA 1‐429‐213             VA 1‐429‐256    VA 1‐429‐459 
    VA 1‐429‐167      VA 1‐429‐214             VA 1‐429‐257    VA 1‐429‐460 
    VA 1‐429‐168      VA 1‐429‐215             VA 1‐429‐258    VA 1‐429‐461 
    VA 1‐429‐170      VA 1‐429‐216             VA 1‐429‐259    VA 1‐429‐462 
    VA 1‐429‐171      VA 1‐429‐217             VA 1‐429‐260    VA 1‐429‐464 
    VA 1‐429‐172      VA 1‐429‐218             VA 1‐429‐261    VA 1‐429‐465 
    VA 1‐429‐173      VA 1‐429‐219             VA 1‐429‐262    VA 1‐429‐466 
    VA 1‐429‐174      VA 1‐429‐220             VA 1‐429‐263    VA 1‐429‐467 
    VA 1‐429‐175      VA 1‐429‐222             VA 1‐429‐265    VA 1‐429‐468 
    VA 1‐429‐176      VA 1‐429‐223             VA 1‐429‐266    VA 1‐429‐469 
    VA 1‐429‐177      VA 1‐429‐224             VA 1‐429‐267    VA 1‐429‐470 
    VA 1‐429‐178      VA 1‐429‐225             VA 1‐429‐268    VA 1‐429‐471 
    VA 1‐429‐179      VA 1‐429‐226             VA 1‐429‐269    VA 1‐429‐472 
    VA 1‐429‐180      VA 1‐429‐227             VA 1‐429‐270    VA 1‐429‐473 
    VA 1‐429‐181      VA 1‐429‐228             VA 1‐429‐271    VA 1‐429‐474 
    VA 1‐429‐182      VA 1‐429‐229             VA 1‐429‐272    VA 1‐429‐475 
    VA 1‐429‐183      VA 1‐429‐230             VA 1‐429‐273    VA 1‐429‐476 
    VA 1‐429‐184      VA 1‐429‐231             VA 1‐429‐274    VA 1‐429‐477 


                                      ‐ 3 ‐ 
                                                                        Exh. 1, Pg. 3
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 31 of 126 Page ID
                                      #:5483
                                          
                      PERFECT 10’S COPYRIGHT REGISTRATIONS 


    VA 1‐429‐525      VA 1‐429‐694             VA 1‐429‐853    VA 1‐430‐304 
    VA 1‐429‐617      VA 1‐429‐695             VA 1‐429‐854    VA 1‐430‐305 
    VA 1‐429‐618      VA 1‐429‐696             VA 1‐429‐855    VA 1‐430‐306 
    VA 1‐429‐619      VA 1‐429‐697             VA 1‐429‐856    VA 1‐430‐307 
    VA 1‐429‐620      VA 1‐429‐698             VA 1‐429‐857    VA 1‐430‐308 
    VA 1‐429‐621      VA 1‐429‐699             VA 1‐429‐858    VA 1‐430‐309 
    VA 1‐429‐622      VA 1‐429‐700             VA 1‐429‐859    VA 1‐430‐310 
    VA 1‐429‐657      VA 1‐429‐702             VA 1‐429‐860    VA 1‐430‐311 
    VA 1‐429‐658      VA 1‐429‐707             VA 1‐429‐861    VA 1‐430‐312 
    VA 1‐429‐659      VA 1‐429‐708             VA 1‐429‐862    VA 1‐430‐313 
    VA 1‐429‐660      VA 1‐429‐712             VA 1‐429‐863    VA 1‐430‐314 
    VA 1‐429‐661      VA 1‐429‐713             VA 1‐429‐864    VA 1‐430‐315 
    VA 1‐429‐662      VA 1‐429‐714             VA 1‐429‐865    VA 1‐430‐316 
    VA 1‐429‐663      VA 1‐429‐716             VA 1‐429‐866    VA 1‐430‐317 
    VA 1‐429‐664      VA 1‐429‐717             VA 1‐429‐867    VA 1‐430‐318 
    VA 1‐429‐666      VA 1‐429‐718             VA 1‐429‐868    VA 1‐430‐319 
    VA 1‐429‐668      VA 1‐429‐719             VA 1‐429‐924    VA 1‐430‐320 
    VA 1‐429‐669      VA 1‐429‐720             VA 1‐429‐952    VA 1‐430‐321 
    VA 1‐429‐671      VA 1‐429‐721             VA 1‐429‐953    VA 1‐430‐322 
    VA 1‐429‐672      VA 1‐429‐722             VA 1‐429‐954    VA 1‐430‐323 
    VA 1‐429‐673      VA 1‐429‐723             VA 1‐429‐955    VA 1‐430‐487 
    VA 1‐429‐674      VA 1‐429‐727             VA 1‐429‐956    VA 1‐430‐578 
    VA 1‐429‐675      VA 1‐429‐728             VA 1‐430‐008    VA 1‐430‐579 
    VA 1‐429‐676      VA 1‐429‐730             VA 1‐430‐010    VA 1‐430‐580 
    VA 1‐429‐677      VA 1‐429‐731             VA 1‐430‐011    VA 1‐430‐581 
    VA 1‐429‐678      VA 1‐429‐732             VA 1‐430‐012    VA 1‐430‐583 
    VA 1‐429‐679      VA 1‐429‐733             VA 1‐430‐013    VA 1‐430‐607 
    VA 1‐429‐681      VA 1‐429‐734             VA 1‐430‐291    VA 1‐430‐608 
    VA 1‐429‐682      VA 1‐429‐735             VA 1‐430‐292    VA 1‐430‐609 
    VA 1‐429‐683      VA 1‐429‐736             VA 1‐430‐293    VA 1‐430‐610 
    VA 1‐429‐684      VA 1‐429‐737             VA 1‐430‐294    VA 1‐430‐611 
    VA 1‐429‐685      VA 1‐429‐738             VA 1‐430‐295    VA 1‐430‐621 
    VA 1‐429‐686      VA 1‐429‐739             VA 1‐430‐296    VA 1‐430‐635 
    VA 1‐429‐687      VA 1‐429‐740             VA 1‐430‐297    VA 1‐430‐637 
    VA 1‐429‐688      VA 1‐429‐741             VA 1‐430‐298    VA 1‐430‐638 
    VA 1‐429‐689      VA 1‐429‐75              VA 1‐430‐299    VA 1‐430‐650 
    VA 1‐429‐690      VA 1‐429‐849             VA 1‐430‐300    VA 1‐430‐651 
    VA 1‐429‐691      VA 1‐429‐850             VA 1‐430‐301    VA 1‐430‐652 
    VA 1‐429‐692      VA 1‐429‐851             VA 1‐430‐302    VA 1‐430‐653 
    VA 1‐429‐693      VA 1‐429‐852             VA 1‐430‐303    VA 1‐430‐655 


                                      ‐ 4 ‐ 
                                                                        Exh. 1, Pg. 4
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 32 of 126 Page ID
                                      #:5484
                                          
                      PERFECT 10’S COPYRIGHT REGISTRATIONS 


    VA 1‐430‐806      VA 1‐431‐331             VA 1‐431‐836    VA 1‐431‐876 
    VA 1‐430‐809      VA 1‐431‐332             VA 1‐431‐837    VA 1‐431‐877 
    VA 1‐430‐810      VA 1‐431‐333             VA 1‐431‐838    VA 1‐431‐878 
    VA 1‐430‐813      VA 1‐431‐334             VA 1‐431‐839    VA 1‐431‐879 
    VA 1‐430‐814      VA 1‐431‐335             VA 1‐431‐840    VA 1‐431‐880 
    VA 1‐430‐815      VA 1‐431‐340             VA 1‐431‐841    VA 1‐431‐881 
    VA 1‐430‐816      VA 1‐431‐341             VA 1‐431‐842    VA 1‐431‐882 
    VA 1‐430‐817      VA 1‐431‐342             VA 1‐431‐843    VA 1‐431‐883 
    VA 1‐430‐833      VA 1‐431‐479             VA 1‐431‐844    VA 1‐431‐884 
    VA 1‐430‐841      VA 1‐431‐519             VA 1‐431‐845    VA 1‐431‐885 
    VA 1‐430‐842      VA 1‐431‐660             VA 1‐431‐846    VA 1‐431‐886 
    VA 1‐430‐844      VA 1‐431‐661             VA 1‐431‐847    VA 1‐431‐887 
    VA 1‐430‐845      VA 1‐431‐662             VA 1‐431‐848    VA 1‐431‐888 
    VA 1‐430‐847      VA 1‐431‐663             VA 1‐431‐849    VA 1‐431‐889 
    VA 1‐430‐849      VA 1‐431‐664             VA 1‐431‐850    VA 1‐431‐890 
    VA 1‐430‐850      VA 1‐431‐780             VA 1‐431‐851    VA 1‐431‐891 
    VA 1‐430‐852      VA 1‐431‐781             VA 1‐431‐852    VA 1‐431‐892 
    VA 1‐430‐909      VA 1‐431‐813             VA 1‐431‐853    VA 1‐431‐893 
    VA 1‐430‐917      VA 1‐431‐814             VA 1‐431‐854    VA 1‐431‐894 
    VA 1‐430‐918      VA 1‐431‐815             VA 1‐431‐855    VA 1‐431‐895 
    VA 1‐430‐921      VA 1‐431‐816             VA 1‐431‐856    VA 1‐431‐896 
    VA 1‐430‐922      VA 1‐431‐817             VA 1‐431‐857    VA 1‐431‐897 
    VA 1‐430‐923      VA 1‐431‐818             VA 1‐431‐858    VA 1‐431‐898 
    VA 1‐430‐925      VA 1‐431‐819             VA 1‐431‐859    VA 1‐431‐899 
    VA 1‐430‐926      VA 1‐431‐820             VA 1‐431‐860    VA 1‐431‐900 
    VA 1‐430‐927      VA 1‐431‐821             VA 1‐431‐861    VA 1‐431‐901 
    VA 1‐430‐928      VA 1‐431‐822             VA 1‐431‐862    VA 1‐431‐902 
    VA 1‐430‐987      VA 1‐431‐823             VA 1‐431‐863    VA 1‐431‐903 
    VA 1‐430‐988      VA 1‐431‐824             VA 1‐431‐864    VA 1‐431‐904 
    VA 1‐430‐989      VA 1‐431‐825             VA 1‐431‐865    VA 1‐431‐905 
    VA 1‐430‐991      VA 1‐431‐826             VA 1‐431‐866    VA 1‐431‐906 
    VA 1‐431‐044      VA 1‐431‐827             VA 1‐431‐867    VA 1‐431‐907 
    VA 1‐431‐045      VA 1‐431‐828             VA 1‐431‐868    VA 1‐431‐908 
    VA 1‐431‐046      VA 1‐431‐829             VA 1‐431‐869    VA 1‐431‐909 
    VA 1‐431‐047      VA 1‐431‐830             VA 1‐431‐870    VA 1‐431‐910 
    VA 1‐431‐048      VA 1‐431‐831             VA 1‐431‐871    VA 1‐431‐911 
    VA 1‐431‐049      VA 1‐431‐832             VA 1‐431‐872    VA 1‐431‐912 
    VA 1‐431‐050      VA 1‐431‐833             VA 1‐431‐873    VA 1‐431‐913 
    VA 1‐431‐051      VA 1‐431‐834             VA 1‐431‐874    VA 1‐431‐914 
    VA 1‐431‐330      VA 1‐431‐835             VA 1‐431‐875    VA 1‐431‐915 


                                      ‐ 5 ‐ 
                                                                        Exh. 1, Pg. 5
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 33 of 126 Page ID
                                      #:5485
                                          
                      PERFECT 10’S COPYRIGHT REGISTRATIONS 


    VA 1‐431‐916      VA 1‐431‐956             VA 1‐431‐996    VA 1‐432‐105 
    VA 1‐431‐917      VA 1‐431‐957             VA 1‐431‐997    VA 1‐432‐106 
    VA 1‐431‐918      VA 1‐431‐958             VA 1‐431‐998    VA 1‐432‐107 
    VA 1‐431‐919      VA 1‐431‐959             VA 1‐431‐999    VA 1‐432‐108 
    VA 1‐431‐920      VA 1‐431‐960             VA 1‐432‐000    VA 1‐432‐109 
    VA 1‐431‐921      VA 1‐431‐961             VA 1‐432‐001    VA 1‐432‐110 
    VA 1‐431‐922      VA 1‐431‐962             VA 1‐432‐002    VA 1‐432‐111 
    VA 1‐431‐923      VA 1‐431‐963             VA 1‐432‐003    VA 1‐432‐112 
    VA 1‐431‐924      VA 1‐431‐964             VA 1‐432‐004    VA 1‐432‐113 
    VA 1‐431‐925      VA 1‐431‐965             VA 1‐432‐005    VA 1‐432‐114 
    VA 1‐431‐926      VA 1‐431‐966             VA 1‐432‐006    VA 1‐432‐115 
    VA 1‐431‐927      VA 1‐431‐967             VA 1‐432‐007    VA 1‐432‐116 
    VA 1‐431‐928      VA 1‐431‐968             VA 1‐432‐077    VA 1‐432‐117 
    VA 1‐431‐929      VA 1‐431‐969             VA 1‐432‐078    VA 1‐432‐118 
    VA 1‐431‐930      VA 1‐431‐970             VA 1‐432‐079    VA 1‐432‐119 
    VA 1‐431‐931      VA 1‐431‐971             VA 1‐432‐080    VA 1‐432‐120 
    VA 1‐431‐932      VA 1‐431‐972             VA 1‐432‐081    VA 1‐432‐121 
    VA 1‐431‐933      VA 1‐431‐973             VA 1‐432‐082    VA 1‐432‐122 
    VA 1‐431‐934      VA 1‐431‐974             VA 1‐432‐083    VA 1‐432‐123 
    VA 1‐431‐935      VA 1‐431‐975             VA 1‐432‐084    VA 1‐432‐124 
    VA 1‐431‐936      VA 1‐431‐976             VA 1‐432‐085    VA 1‐432‐125 
    VA 1‐431‐937      VA 1‐431‐977             VA 1‐432‐086    VA 1‐432‐126 
    VA 1‐431‐938      VA 1‐431‐978             VA 1‐432‐087    VA 1‐432‐127 
    VA 1‐431‐939      VA 1‐431‐979             VA 1‐432‐088    VA 1‐432‐128 
    VA 1‐431‐940      VA 1‐431‐980             VA 1‐432‐089    VA 1‐432‐129 
    VA 1‐431‐941      VA 1‐431‐981             VA 1‐432‐090    VA 1‐432‐130 
    VA 1‐431‐942      VA 1‐431‐982             VA 1‐432‐091    VA 1‐432‐133 
    VA 1‐431‐943      VA 1‐431‐983             VA 1‐432‐092    VA 1‐432‐134 
    VA 1‐431‐944      VA 1‐431‐984             VA 1‐432‐093    VA 1‐432‐135 
    VA 1‐431‐945      VA 1‐431‐985             VA 1‐432‐094    VA 1‐432‐136 
    VA 1‐431‐946      VA 1‐431‐986             VA 1‐432‐095    VA 1‐432‐137 
    VA 1‐431‐947      VA 1‐431‐987             VA 1‐432‐096    VA 1‐432‐138 
    VA 1‐431‐948      VA 1‐431‐988             VA 1‐432‐097    VA 1‐432‐139 
    VA 1‐431‐949      VA 1‐431‐989             VA 1‐432‐098    VA 1‐432‐140 
    VA 1‐431‐950      VA 1‐431‐990             VA 1‐432‐099    VA 1‐432‐141 
    VA 1‐431‐951      VA 1‐431‐991             VA 1‐432‐100    VA 1‐432‐142 
    VA 1‐431‐952      VA 1‐431‐992             VA 1‐432‐101    VA 1‐432‐143 
    VA 1‐431‐953      VA 1‐431‐993             VA 1‐432‐102    VA 1‐432‐144 
    VA 1‐431‐954      VA 1‐431‐994             VA 1‐432‐103    VA 1‐432‐145 
    VA 1‐431‐955      VA 1‐431‐995             VA 1‐432‐104    VA 1‐432‐146 


                                      ‐ 6 ‐ 
                                                                        Exh. 1, Pg. 6
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 34 of 126 Page ID
                                      #:5486
                                          
                      PERFECT 10’S COPYRIGHT REGISTRATIONS 


    VA 1‐432‐147      VA 1‐432‐196             VA 1‐432‐263    VA 1‐432‐707 
    VA 1‐432‐148      VA 1‐432‐197             VA 1‐432‐264    VA 1‐432‐708 
    VA 1‐432‐149      VA 1‐432‐198             VA 1‐432‐265    VA 1‐432‐710 
    VA 1‐432‐150      VA 1‐432‐199             VA 1‐432‐266    VA 1‐432‐711 
    VA 1‐432‐151      VA 1‐432‐200             VA 1‐432‐270    VA 1‐432‐966 
    VA 1‐432‐152      VA 1‐432‐201             VA 1‐432‐271    VA 1‐432‐967 
    VA 1‐432‐153      VA 1‐432‐202             VA 1‐432‐272    VA 1‐432‐968 
    VA 1‐432‐154      VA 1‐432‐203             VA 1‐432‐273    VA 1‐432‐969 
    VA 1‐432‐155      VA 1‐432‐204             VA 1‐432‐274    VA 1‐432‐970 
    VA 1‐432‐156      VA 1‐432‐205             VA 1‐432‐275    VA 1‐432‐971 
    VA 1‐432‐157      VA 1‐432‐206             VA 1‐432‐276    VA 1‐432‐972 
    VA 1‐432‐158      VA 1‐432‐207             VA 1‐432‐277    VA 1‐432‐973 
    VA 1‐432‐159      VA 1‐432‐208             VA 1‐432‐278    VA 1‐432‐974 
    VA 1‐432‐160      VA 1‐432‐209             VA 1‐432‐279    VA 1‐432‐976 
    VA 1‐432‐161      VA 1‐432‐210             VA 1‐432‐280    VA 1‐432‐977 
    VA 1‐432‐162      VA 1‐432‐211             VA 1‐432‐281    VA 1‐432‐978 
    VA 1‐432‐163      VA 1‐432‐212             VA 1‐432‐282    VA 1‐432‐980 
    VA 1‐432‐164      VA 1‐432‐213             VA 1‐432‐283    VA 1‐432‐981 
    VA 1‐432‐165      VA 1‐432‐214             VA 1‐432‐284    VA 1‐432‐982 
    VA 1‐432‐166      VA 1‐432‐215             VA 1‐432‐522    VA 1‐432‐983 
    VA 1‐432‐167      VA 1‐432‐216             VA 1‐432‐523    VA 1‐432‐985 
    VA 1‐432‐168      VA 1‐432‐217             VA 1‐432‐524    VA 1‐432‐986 
    VA 1‐432‐169      VA 1‐432‐218             VA 1‐432‐525    VA 1‐432‐987 
    VA 1‐432‐170      VA 1‐432‐219             VA 1‐432‐528    VA 1‐432‐988 
    VA 1‐432‐171      VA 1‐432‐220             VA 1‐432‐529    VA 1‐432‐989 
    VA 1‐432‐172      VA 1‐432‐221             VA 1‐432‐530    VA 1‐432‐990 
    VA 1‐432‐173      VA 1‐432‐222             VA 1‐432‐531    VA 1‐432‐991 
    VA 1‐432‐174      VA 1‐432‐223             VA 1‐432‐532    VA 1‐432‐992 
    VA 1‐432‐175      VA 1‐432‐224             VA 1‐432‐533    VA 1‐432‐993 
    VA 1‐432‐176      VA 1‐432‐225             VA 1‐432‐534    VA 1‐432‐994 
    VA 1‐432‐186      VA 1‐432‐226             VA 1‐432‐543    VA 1‐432‐995 
    VA 1‐432‐187      VA 1‐432‐242             VA 1‐432‐544    VA 1‐432‐996 
    VA 1‐432‐188      VA 1‐432‐243             VA 1‐432‐546    VA 1‐432‐997 
    VA 1‐432‐189      VA 1‐432‐256             VA 1‐432‐547    VA 1‐432‐999 
    VA 1‐432‐190      VA 1‐432‐257             VA 1‐432‐548    VA 1‐433‐000 
    VA 1‐432‐191      VA 1‐432‐258             VA 1‐432‐695    VA 1‐433‐001 
    VA 1‐432‐192      VA 1‐432‐259             VA 1‐432‐697    VA 1‐433‐002 
    VA 1‐432‐193      VA 1‐432‐260             VA 1‐432‐699    VA 1‐433‐003 
    VA 1‐432‐194      VA 1‐432‐261             VA 1‐432‐701    VA 1‐433‐005 
    VA 1‐432‐195      VA 1‐432‐262             VA 1‐432‐704    VA 1‐433‐007 


                                      ‐ 7 ‐ 
                                                                        Exh. 1, Pg. 7
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 35 of 126 Page ID
                                      #:5487
                                          
                      PERFECT 10’S COPYRIGHT REGISTRATIONS 


    VA 1‐433‐008      VA 1‐630‐331             VA 1‐646‐246        VA 1‐668‐107 
    VA 1‐433‐062      VA 1‐630‐334             VA 1‐646‐247        VA 1‐668‐230 
    VA 1‐433‐063      VA 1‐630‐341             VA 1‐646‐257        VA 1‐668‐231 
    VA 1‐433‐064      VA 1‐630‐363             VA 1‐646‐259        VA 1‐668‐232 
    VA 1‐433‐065      VA 1‐630‐365             VA 1‐646‐269        VA 1‐668‐235 
    VA 1‐433‐066      VA 1‐630‐374             VA 1‐646‐273        VA 1‐668‐236 
    VA 1‐433‐067      VA 1‐630‐377             VA 1‐646‐281        VA 1‐668‐245 
    VA 1‐433‐068      VA 1‐630‐384             VA 1‐646‐292        VA 1‐669‐420 
    VA 1‐433‐069      VA 1‐630‐387             VA 1‐646‐300        VA 1‐669‐441 
    VA 1‐433‐070      VA 1‐630‐389             VA 1‐646‐305        VAU 671‐253 
    VA 1‐433‐071      VA 1‐631‐228             VA 1‐646‐312        VAu 702‐953 
    VA 1‐433‐074      VA 1‐631‐229             VA 1‐646‐315        VAu 735‐092 
    VA 1‐433‐075      VA 1‐631‐232             VA 1‐651‐767        VAu 735‐093 
    VA 1‐433‐076      VA 1‐631‐235             VA 1‐664‐328        VAU 735‐094 
    VA 1‐433‐077      VA 1‐631‐242             VA 1‐664‐331        VAU 735‐098 
    VA 1‐433‐078      VA 1‐631‐244             VA 1‐664‐342        VAU 735‐099 
    VA 1‐433‐079      VA 1‐631‐247             VA 1‐664‐344     
    VA 1‐433‐080      VA 1‐631‐250             VA 1‐667‐297 
    VA 1‐433‐081      VA 1‐631‐253             VA 1‐667‐585 
    VA 1‐433‐082      VA 1‐631‐255             VA 1‐667‐593 
    VA 1‐433‐083      VA 1‐631‐257             VA 1‐667‐595 
    VA 1‐433‐086      VA 1‐631‐261             VA 1‐667‐601 
    VA 1‐433‐087      VA 1‐641‐518             VA 1‐667‐605 
    VA 1‐433‐088      VA 1‐641‐522             VA 1‐667‐609 
    VA 1‐433‐089      VA 1‐645‐629             VA 1‐667‐612 
    VA 1‐433‐090      VA 1‐645‐643             VA 1‐667‐615 
    VA 1‐433‐091      VA 1‐645‐655             VA 1‐668‐082 
    VA 1‐433‐092      VA 1‐645‐667             VA 1‐668‐083 
    VA 1‐433‐093      VA 1‐645‐681             VA 1‐668‐084 
    VA 1‐625‐653      VA 1‐645‐711             VA 1‐668‐085 
    VA 1‐628‐766      VA 1‐645‐712             VA 1‐668‐086 
    VA 1‐628‐767      VA 1‐645‐714             VA 1‐668‐087 
    VA 1‐628‐769      VA 1‐645‐715             VA 1‐668‐088 
    VA 1‐628‐773      VA 1‐645‐720             VA 1‐668‐089 
    VA 1‐629‐329      VA 1‐646‐201             VA 1‐668‐090 
    VA 1‐629‐369      VA 1‐646‐211             VA 1‐668‐094 
    VA 1‐629‐373      VA 1‐646‐216             VA 1‐668‐096 
    VA 1‐629‐378      VA 1‐646‐223             VA 1‐668‐099 
    VA 1‐629‐382      VA 1‐646‐232             VA 1‐668‐101 
    VA 1‐629‐765      VA 1‐646‐239             VA 1‐668‐103 


                                      ‐ 8 ‐ 
                                                                            Exh. 1, Pg. 8
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 36 of 126 Page ID
                                  #:5488




              First Amended Complaint
                      Exhibit 2




                                               First Amended Complaint Exhibit 2
Giganews Usenet Glossary - Newsgroup Provider / Usenet Provider / Usenet Service Provider
                    Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 37 of 126 Page ID
                                                      #:5489
                                                                            1 6 7 7 DAYS OF RETENTION                                 Search



                                                                                                                                       LOG IN          START FREE TRIAL
         Why Giganews?              VyprVPN          Dump Truck            Mimo         Support      Blog



         Newsgroup Provider / Usenet Provider / Usenet                                                                          Follow Giganews:

         Service Provider                                                                                                        DIAMOND                            $34.99
                                                                                                                                                                     (~26,92€)

                                                                                                                                 Unlimited Usenet + SSL
         A newsgroup provider or Usenet provider is simply a company or organization which provides access to
         Usenet newsgroups. A newsgroup provider may be your Internet Service Provider (ISP), corporate network,                 50 Connections
         educational institution, or a premium provider like Giganews. ISP, corporate, or institution based Usenet servers       Mimo Usenet Browser +
         are typically a watered down version of what you would get through a premium newsgroup service provider                 Search
         like Giganews. These Usenet servers typically exclude binary groups or offer limited retention. Giganews is the         30 GB Dump Truck
         world's largest newsgroup provider, providing direct access to over 10 million homes in over 180 different              Online Storage
         countries."
                                                                                                                                 VyprVPN Personal VPN
         Return to the Giganews Usenet Glossary
                                                                                                                                   PLATINUM                        $24.99
                                                                                                                                                                     (~19,22€)
                                                                                                                                   Unlimited Usenet + SSL
                                                                                                                                   20 Connections

                                                                                                                                   5 GB Dump Truck
                                                                                                                                   Online Storage


                                                                                                                                   SILVER                          $14.99
                                                                                                                                                                     (~11,53€)
                                                                                                                                   50GB Usenet + SSL
                                                                                                                                   20 Connections

                                                                                                                                   5 GB Dump Truck
                                                                                                                                   Online Storage

                                                                                                                                 Other Usenet plans starting at $4.99 »



                                                                                                                                  What People are
                                                                                                                                  Saying
                                                                                                                                  Freaking legendary people
                                                                                                                                  delivering freaking
                                                                                                                                  legendary service at a
                                                                                                                                  freaking legendary price.
                                                                                                                                      Jia - Morris Plains, New Jersey



                                                                                                                                                                                 View more reviews »




                                                                                                                                Recent Blog Posts
                                                                                                                                Feb    VyprVPN for Mac updated to version
                                                                                                                                 28    1.1!

                                                                                                                                Feb    Dump Truck for iOS updated to version
                                                                                                                                 20    1.1 - iPhone 5 support and more...

                                                                                                                                Feb    New User Interface (and more) for
                                                                                                                                 12    Dump Truck for Android




                                                                                                                                              Download Giganews
                                                                                                                                              Accelerator now!




                                                                                                                                                        Exh. 2, Pg. 1
http://www.giganews.com/usenet-glossary/Newsgroup-Provider-Usenet-Provider-Usenet-Service-Provider.html[3/9/2013 10:12:00 AM]
Usenet Newsgroups Blog (05/2011 Archives) - Giganews
                    Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 38 of 126 Page ID
                                                      #:5490
             0    Comments                                       Like
                                                                                                        reddit
                                                                                                                                               Download Giganews
                                                                                                                                               Accelerator now!



         MONDAY, MAY 02, 2011


         Announcing 1000 Days Retention & Prize Giveaway Winners!

         Today, Giganews became the first Usenet provider to ever store 1000 days of binary newsgroups
         retention – and we will continue to grow our retention over the coming months. Giganews
         customers have over nine petabytes of redundant storage at their fingertips, and every day,
         we add more space.

         It’s one thing to offer long retention. It’s another thing to offer high-quality long retention.
         Some competitors claim to have long retention, but when you look closer, you see the long
         retention is only in some groups, older articles are slower, and many older files are incomplete.

         We built our infrastructure from the ground up with a focus on scalability. That’s why, when you pull a 1000 day old
         article, it downloads just as fast as one posted today. You’ll find the same quality and length of retention across all
         109,000+ newsgroups, not just a select number of groups.

         To celebrate this milestone, we created the 1000 Days Prize Giveaway. All members were automatically entered into
         the giveaway. Members could earn additional entries by "Liking" us on Facebook, "Following" us on Twitter, using
         Mimo Usenet Browser + Search or being selected in the Top 10 Salutes.

         Today, we wrapped up the contest and are excited to announce the winners.

         Remember, by having an active Giganews account you were automatically entered into the giveaway, so you may
         have won even if you did nothing.

         See if you’ve won now, and thank you to every Giganews customer for participating!

         Labels: 1000 days, contest, retention


             Comment on this post                      Share this post                      Submit this post

                                                       Tweet
                                                                  94
             1    Comments                                       Like
                                                                                                             •

                                                                                                        reddit




                                                 Get the best Usenet service in the world!                               START FREE TRIAL




         GIGANEWS                                 RESOURCES                                 SUPPORT                                LANGUAGES

         About Us                                 Speed & Traceroute                        Support Overview                       English
         Terms of Service                         VyprVPN                                   Welcome Kit                            Français
         Legal                                    Dump Truck                                Usenet Support                         Português
         DMCA                                     Mimo                                      VyprVPN Support                          体中
         Site Feedback                            Giganews Accelerator                      Dump Truck Support                     Deutsch
         Site Map                                 Blog                                      Mimo Support                           Español
         Affiliates                               Peering                                   Usenet University                      日本語

                                                                                                                                                       Exh. 2, Pg. 2
http://www.giganews.com/blog/archives/2011_05_01_archive.html[3/9/2013 10:06:23 AM]
Giganews Usenet Glossary - Retention
                    Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 39 of 126 Page ID
                                                      #:5491
                                                                         1 6 7 7 DAYS OF RETENTION                                        Search



                                                                                                                                           LOG IN          START FREE TRIAL
         Why Giganews?             VyprVPN         Dump Truck          Mimo         Support         Blog



         Retention                                                                                                                  Follow Giganews:

         Retention refers to the length of time articles are stored in a Usenet system. Retention is usually determined                                                 $34.99
                                                                                                                                     DIAMOND
         by "first in - last out" logic where the oldest articles are deleted as new articles are stored. The oldest article in a                                        (~26,92€)

                                                                                                                                     Unlimited Usenet + SSL
         Usenet system is typically what defines that system's retention. Giganews offers 1677 days binary newsgroup
         retention anda 3547 days text newsgroup retention."                                                                         50 Connections
                                                                                                                                     Mimo Usenet Browser +
         Return to the Giganews Usenet Glossary                                                                                      Search
                                                                                                                                     30 GB Dump Truck
                                                                                                                                     Online Storage
                                                                                                                                     VyprVPN Personal VPN


                                                                                                                                       PLATINUM                        $24.99
                                                                                                                                                                         (~19,22€)
                                                                                                                                       Unlimited Usenet + SSL
                                                                                                                                       20 Connections

                                                                                                                                       5 GB Dump Truck
                                                                                                                                       Online Storage


                                                                                                                                       SILVER                          $14.99
                                                                                                                                                                         (~11,53€)
                                                                                                                                       50GB Usenet + SSL
                                                                                                                                       20 Connections

                                                                                                                                       5 GB Dump Truck
                                                                                                                                       Online Storage

                                                                                                                                     Other Usenet plans starting at $4.99 »



                                                                                                                                      What People are
                                                                                                                                      Saying
                                                                                                                                      - low price for big
                                                                                                                                      performance - big security
                                                                                                                                      - i am happy german
                                                                                                                                      member
                                                                                                                                            Udo - Neuruppin, Germany



                                                                                                                                                                                     View more reviews »




                                                                                                                                    Recent Blog Posts
                                                                                                                                    Feb    VyprVPN for Mac updated to version
                                                                                                                                     28    1.1!

                                                                                                                                    Feb    Dump Truck for iOS updated to version
                                                                                                                                     20    1.1 - iPhone 5 support and more...

                                                                                                                                    Feb    New User Interface (and more) for
                                                                                                                                     12    Dump Truck for Android




                                                                                                                                                  Download Giganews
                                                                                                                                                  Accelerator now!




                                                                                                                                                            Exh. 2, Pg. 3
http://www.giganews.com/usenet-glossary/Retention.html[3/9/2013 11:11:20 AM]
Giganews Usenet Glossary - Completion
                    Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 40 of 126 Page ID
                                                      #:5492
                                                                        1 6 7 7 DAYS OF RETENTION                                      Search



                                                                                                                                        LOG IN          START FREE TRIAL
         Why Giganews?            VyprVPN         Dump Truck           Mimo       Support        Blog



         Completion                                                                                                              Follow Giganews:

         Completion refers to the percentage of articles a Usenet server actually has versus how many articles that                                                  $34.99
                                                                                                                                  DIAMOND
         server could possibly have. Many potential issues, such as network congestion, under powered feeding servers,                                                (~26,92€)

                                                                                                                                  Unlimited Usenet + SSL
         down time, poor peering, and data loss may result in a Usenet server missing articles. When a Usenet server is
         missing a lot of articles it is said to have a low "Completion Rate". Giganews maintains a near perfect 99.5%+           50 Connections
         completion rate.                                                                                                         Mimo Usenet Browser +
                                                                                                                                  Search
         Completion issues can be overcome by establishing extensive peering relationships with other Usenet servers
                                                                                                                                  30 GB Dump Truck
         and by making sure supporting systems like Internet connectivity, processors, and storage devices have plenty
                                                                                                                                  Online Storage
         of capacity and are finely tuned.
                                                                                                                                  VyprVPN Personal VPN
         As the largest Tier 1 Usenet provider, Giganews is in a unique position regarding completion. Over 20% of
         Usenet articles are posted directly via one of Giganews' global Usenet clusters, thus making Giganews the                  PLATINUM                        $24.99
         world's largest source of Usenet posts. As the world's largest source of Usenet posts, every Usenet system on              Unlimited Usenet + SSL
                                                                                                                                                                      (~19,22€)

         the planet must maintain some sort of direct or indirect peering relationship with Giganews, thus making sure
                                                                                                                                    20 Connections
         that every Usenet article passes through one of our Usenet servers at some point.
                                                                                                                                    5 GB Dump Truck
         In addition to being the world's most peered Usenet system, Giganews also maintains the most advanced                      Online Storage
         Usenet cluster available. With multiple levels of redundancy and tons of extra capacity, Giganews is able to
         quickly and efficiently route articles throughout our cluster thus reducing the likelihood that articles will be lost      SILVER                          $14.99
         in transit."                                                                                                               50GB Usenet + SSL
                                                                                                                                                                      (~11,53€)



                                                                                                                                    20 Connections
         Return to the Giganews Usenet Glossary
                                                                                                                                    5 GB Dump Truck
                                                                                                                                    Online Storage

                                                                                                                                  Other Usenet plans starting at $4.99 »



                                                                                                                                   What People are
                                                                                                                                   Saying
                                                                                                                                   I love the price, the
                                                                                                                                   simplicity and the damn
                                                                                                                                   cool Mimo. And the VPN!
                                                                                                                                   Oh my gosh, the VPN is the
                                                                                                                                   deal breaker!
                                                                                                                                                Zhiva - Bærum, Norway



                                                                                                                                                                                  View more reviews »




                                                                                                                                 Recent Blog Posts
                                                                                                                                 Feb    VyprVPN for Mac updated to version
                                                                                                                                  28    1.1!

                                                                                                                                 Feb    Dump Truck for iOS updated to version
                                                                                                                                  20    1.1 - iPhone 5 support and more...

                                                                                                                                 Feb    New User Interface (and more) for
                                                                                                                                  12    Dump Truck for Android




                                                                                                                                               Download Giganews
                                                                                                                                               Accelerator now!




                                                                                                                                                         Exh. 2, Pg. 4
http://www.giganews.com/usenet-glossary/Completion.html[3/9/2013 11:03:41 AM]
Mimo Usenet Browser + Search | Usenet made Easy
                   Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 41 of 126 Page ID
                                                     #:5493
                                                                    1 6 7 7 DAYS OF RETENTION                                     Search



                                                                                                                                   LOG IN       START FREE TRIAL
        Why Giganews?            VyprVPN          Dump Truck       Mimo        Support        Blog




                                                                                                              Sign Up for Diamond
                                                                                                              MIMO INCLUDED FREE




  18     Mimo Usenet Browser + Search                                                                               Already a Giganews Member?
                                                                                                                    Diamond Account: Included Free
         In order to access Usenet, you need a Usenet browser and Usenet service. Mimo is a multi-
                                                                                                                    All Other Accounts: Not Available
         platform Usenet Browser designed specifically for Giganews' multi-year retention. Mimo is
         optimized for faster browsing, searching and downloads and features integrated search and
                                                                                                                       Download Mimo
         advanced image viewing.



                                                                                                                    Mimo Usenet Search Features
         Why Choose Mimo?                                                                                               Dynamic indexing of Giganews' multi-
                                                                                                                        year retention
                   Active Development & Support                                                                         Searches across all groups
                   Mimo is in active development and will be updated frequently. Unlike other
                   newsreaders which have ceased development or don't support Giganews' full retention,                 Subject-based searching
                   Mimo will continually evolve to support the Giganews Usenet service.                                 Filtering based on text, binaries and
                                                                                                                        images
                   Integrated Search
                                                                                                                        Search servers optimized for speed
                   Mimo is the only Usenet browser that can search Giganews' world-leading retention.
                   Two Usenet search engines (Mimo Usenet Search and NZBIndex search) are integrated
                   with Mimo for free.

                   Auto RAR and PAR
                   Mimo verifies the integrity of your files as you download for increased speed. "Par in
                   parallel" while you download. No third party software is needed.

                   Optimized for Giganews
                   Mimo is the world's only Usenet browser that dynamically indexes Giganews' full
                   retention. Giganews Accelerator technology is also built-in for faster header downloads.

                   Advanced Download Management
                   Mimo queues multiple downloads and offers flexibility to adjust their priority using all
                   available connections. Easily view your download progress and automatically resume
                   interrupted downloads.

                   Windows and Mac Supported
                   Mimo supports Windows and Mac OS X




                                                      Diamond accounts now include VyprVPN,
                                                                                                                    Sign Up for Diamond
                                                          Dump Truck and Mimo for FREE!



                                                                                                                                                  Exh. 2, Pg. 5
http://www.giganews.com/mimo/[3/9/2013 9:50:02 AM]
Mimo Usenet Browser + Search - Free with Giganews Diamond Membership
                  Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 42 of 126 Page ID
                                                    #:5494
                                                                                                                            LOGIN                         Search




                                                  WHY GIGANEWS?          VYPRVPN       MIMO       TESTIMONIALS        SUPPORT       MORE          SIGN UP




                                     Mimo Usenet Browser + Search
                                                                Advanced Image Viewing
             Built-in RAR and PAR                                                                                  Threaded Messaging




     Integrated Search optimized      Giganews Accelerator Built-       Advanced download                 Windows and Mac              Active Development &
        for Giganews retention                   in                        management                        supported                        Support




                             Mimo Usenet Browser + Search
                             In order to access Usenet, you need a Usenet browser and Usenet service.
                             Mimo is a multi-platform Usenet Browser designed by Golden Frog                                Download Mimo
                             specifically for Giganews' multi-year retention. Mimo is optimized for faster
                             browsing, searching and downloads and features integrated search and
                             advanced image viewing.

                                       FREE with a Diamond Account




     Why Choose Mimo?
                                                                                                                      Setup is Easy!
       Active Development & Support - Although Mimo is still in Beta, Golden Frog is activelyaccttively
       developing Mimo and will release updates frequently. Unlike other newsreaders which have                 1. Download and install Mimo. Windows or
       ceased development or don't support Giganews' full retention, Mimo will continue to evolve to               Mac OS X 10.6 required.
       support the Giganews Usenet service.
                                                                                                                2. Enter your Giganews username and
       Integrated Search - Mimo is the only Usenet browser that can search Giganews' s' world
                                                                                        wo
                                                                                         orld                      password*.
       leading retention. Two Usenet search engines (Golden Frog Usenet Search and Nzbindex
       search) are integrated with Mimo at no additional cost.                                                  3. Start using Mimo!

       Auto RAR and PAR - Mimo verifies the integrity of your files as you download for increased
                                                                                                              * Diamond account required - Signup | Upgrade
       speed. "Par in parallel" while you download. No third party software is needed.


                                                                                                                                       Exh. 28,2,Pg.
                                                                                                                                         Exh.     Pg.1 6
http://www.giganews.com/mimo/[8/20/2011 6:27:15 PM]
VyprVPN Personal VPN for Giganews Members
                   Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 43 of 126 Page ID
                                                     #:5495
                                                                       1 6 7 7 DAYS OF RETENTION                                    Search



                                                                                                                                     LOG IN          START FREE TRIAL
            Why Giganews?            VyprVPN            Dump Truck    Mimo         Support       Blog




                                                                                                             Sign Up for Diamond
                                                                                                             VYPRVPN INCLUDED FREE




                                   Overview              Why Do I Need a VPN?           Compare Protocols           Desktop           Mobile




 ke   133    VyprVPN Personal VPN                                                                                     Already a Giganews Member?
                                                                                                                      Diamond Account: Included Free
             VyprVPN creates a secure, private Internet connection without sacrificing speed. Your
                                                                                                                      All Other Accounts: $9.99 per month
             Internet provider only sees encrypted data, and the final destination only sees VyprVPN's IP
             address and server location.                                                                               Add VyprVPN
             Learn why you need a VPN »


                                                                                                                      Setup VyprVPN On Any Device
             VyprVPN Benefits                                                                                         VyprVPN is easy to configure
                                                                                                                      and takes 30 seconds to setup.
                    Prevent ISP Throttling                           VyprVPN Prevents Data Hacking
                                                                                                                      Setup VyprVPN »
                    ISPs commonly use deep packet                    VyprVPN encrypts all data you send
                    inspection to analyze your Internet              and receive. Your passwords, e-mails
                    traffic and limit your bandwidth. By             and browsing activity are scrambled to
                    encrypting your data, VyprVPN                    prevent hackers and prying eyes from             Worldwide VPN Servers
                    prevents your ISP from inspecting your           reading them.
                    data to limit your Internet access,
                    including Usenet speeds.                         Move Freely Around the Internet
                                                                     Prevent governments and employers
                    End-to-End Privacy                               from monitoring and controlling your
                    Unlike other VPN providers, Golden               online activities. A VPN creates a secure
                                                                                                                          United States - Washington, D.C.
                    Frog owns its VPN servers and manages            tunnel to the Internet, allowing you to
                                                                                                                          United States - Los Angeles, CA
                    its own network so we can ensure your            experience the online world without
                                                                                                                          United States - Austin, TX New!
                    end-to-end privacy is respected                  website blocks, censorship or corporate
                    between your device and our VPN                  firewalls.                                           Canada - Toronto New!
                    servers.                                                                                              Netherlands - Amsterdam
                                                                     Secure Every Device                                  United Kingdom - London
                    World's Fastest VPN                                 Mac OS X                Linux                     France - Paris
                    Unlike other VPN providers, Golden                                                                    Germany - Frankfurt
                                                                        Windows 8               iPhone
                    Frog writes 100% of its VPN server                                                                    Asia - Hong Kong
                                                                        Windows 7               iPad
                    software, manages its own network,
                    and owns the hardware so they can                   Windows Vista           Android
                    deliver the fastest VPN speeds in the
                                                                                                                      About Golden Frog
                    world to Giganews members.
                                                                                                                      Golden Frog develops
                                                                                                                      Internet tools that provide
                                                                                                                      reliability, performance and
             VyprVPN Flexibility for All Devices                                                                      security.

             VyprVPN supports multiple VPN protocols to ensure that every device, including mobile and
             tablets, can be secured with a personal VPN. Compare VPN protocols »

                    PPTP                                             L2TP
                    PPTP is a simple, lightweight protocol           L2TP is commonly used in high security
                                                                                                                                                      Exh. 2, Pg. 7
http://www.giganews.com/vyprvpn/[3/9/2013 9:52:13 AM]
VyprVPN Personal VPN for Giganews Members
                    Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 44 of 126 Page ID
                                                      #:5496
                    providing basic security.                                 corporate networks.

                    OpenVPN                                                   NAT Firewall
                    OpenVPN is the premier VPN protocol                       NAT Firewall is a packet filter that
                    designed for modern broadband                             blocks third parties from exploiting
                    networks providing the best speed and                     security vulnerabilities.
                    stability over long distances.



                                                                 Diamond accounts now include VyprVPN,
                                                                                                                             Sign Up for Diamond
                                                                     Dump Truck and Mimo for FREE!




                                                       Get the best Usenet service in the world!                         START FREE TRIAL




            GIGANEWS                                    RESOURCES                                   SUPPORT                      LANGUAGES

            About Us                                    Speed & Traceroute                          Support Overview             English
            Terms of Service                            VyprVPN                                     Welcome Kit                  Français
            Legal                                       Dump Truck                                  Usenet Support               Português
            DMCA                                        Mimo                                        VyprVPN Support                体中
            Site Feedback                               Giganews Accelerator                        Dump Truck Support           Deutsch
            Site Map                                    Blog                                        Mimo Support                 Español
            Affiliates                                  Peering                                     Usenet University            日本語
            Outsourcing                                 Refer a Friend                              Contact Support
            Careers                                     News                                                                     Nederlands
                                                                                                                                 繁體中




            Giganews® and the Giganews logo are registered trademarks of Giganews, Inc. ©2013 Giganews, Inc.




                                                                                                                                                   Exh. 2, Pg. 8
http://www.giganews.com/vyprvpn/[3/9/2013 9:52:13 AM]
Usenet Personal Account Terms of Service - Giganews
                    Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 45 of 126 Page ID
                                                      #:5497
                                                                       1 6 7 7 DAYS OF RETENTION                                    Search



                                                                                                                                     LOG IN          START FREE TRIAL
         Why Giganews?             VyprVPN            Dump Truck       Mimo     Support        Blog



         Usenet Personal Account Terms of Service                                                                             Follow Giganews:

         Please read the following terms and conditions carefully. By signing up with Giganews, you agree to abide by                                             $34.99
                                                                                                                               DIAMOND
         the following terms, as well as our Acceptable Usage Policy. Please contact us if you have any questions.                                                 (~26,92€)

                                                                                                                               Unlimited Usenet + SSL

         Privacy and Security                                                                                                  50 Connections
                                                                                                                               Mimo Usenet Browser +
         Computer security and privacy are complex issues. It is important to understand these points:
                                                                                                                               Search
                We will cooperate with law enforcement officials and with other system administrators in the legitimate        30 GB Dump Truck
                investigation of suspicious activity.                                                                          Online Storage
                Intentional violations of the privacy of other users, whether on our system or at another site, will be
                                                                                                                               VyprVPN Personal VPN
                grounds for immediate termination of your account and may lead to criminal prosecution or civil
                penalties.
                We will not intentionally disclose the contents of private files without the member's permission or a court      PLATINUM                        $24.99
                                                                                                                                                                   (~19,22€)
                order.                                                                                                           Unlimited Usenet + SSL
                                                                                                                                 20 Connections
         Copyright Infringement And Hacking
                                                                                                                                 5 GB Dump Truck
         You are responsible for determining the legal status of any intellectual property you use or duplicate through          Online Storage
         our system. Some of the material available on the network is copyrighted, and some of it may have been
         distributed in violation of copyright laws. We cannot and do not review the information flowing through or              SILVER                          $14.99
         stored on our system.                                                                                                   50GB Usenet + SSL
                                                                                                                                                                   (~11,53€)



         You agree not to violate copyright laws by transferring copyrighted works through our system or by causing              20 Connections
         them to be transferred or stored without the permission of the copyright holder. Posting of copyrighted                 5 GB Dump Truck
         materials without the permission of the copyright holder can be grounds for suspension of posting or                    Online Storage
         termination of your account.
                                                                                                                               Other Usenet plans starting at $4.99 »
         We consider the exchange of information about security mechanisms to be protected speech. However, traffic
         in access codes, credit card numbers, or similar information is a crime that we take seriously. We expect you to
         respect the rights and privacy of all users and to use your account only for lawful purposes.                          What People are
                                                                                                                                Saying
         Controversial and Explicit Material                                                                                    Giganews is the FASTEST
                                                                                                                                and most RELIABLE
         We cannot be and are not responsible for the contents of any of your communications through Giganews. The
                                                                                                                                server I have used. I
         Internet and Usenet are large communities that regard censorship as worse than obscenity. Through our
                                                                                                                                constantly recommend it
         service, you will have access to and you will at some time or another become exposed to materials that you
                                                                                                                                to my friends and family.
         find offensive. Such materials include sexually explicit text and (encoded) images, pro-religious and anti-
         religious debate, questionable political views, and hateful speech. Giganews expressly disclaims liability for any          Robert - Waupun, Wisconsin
         harm resulting from encountering such material.

         Account Usage                                                                                                                                                         View more reviews »




         Giganews individual accounts are offered as single user, personal accounts. This means that only the owner of
                                                                                                                              Recent Blog Posts
         the account is allowed to use that account. Sharing of accounts is not allowed and may be cause for
         termination. The account owner accepts full responsibility for all usage of the account. If an account owner         Feb    VyprVPN for Mac updated to version
         chooses to allow others to access their account, Giganews will still hold the account owner responsible for any       28    1.1!
         instances of inappropriate or abusive posting through that account.                                                  Feb    Dump Truck for iOS updated to version
                                                                                                                               20    1.1 - iPhone 5 support and more...
         Billing & Settlement
                                                                                                                              Feb    New User Interface (and more) for
                                                                                                                               12    Dump Truck for Android
         Continuing Service Invoice
         Continuing services will be billed in advance. Each month's invoice will be generated on or near your monthly
         billing anniversary date, and at any time your account is upgraded or recycled. Payment is due upon receipt.
                                                                                                                                            Download Giganews
         Your account will automatically be renewed at the end of each service period, repeating the length of the
                                                                                                                                            Accelerator now!
         previous service period, unless you specify otherwise. You can upgrade your service, downgrade your service,
         or recycle your account using our online control panel. You can cancel your service only by submitting the
         Cancellation Request form on our online Control Panel.
                                                                                                                                                      Exh. 2, Pg. 9
http://www.giganews.com/legal/tos_personal.html[3/9/2013 9:56:20 AM]
Usenet Personal Account Terms of Service - Giganews
                 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 46 of 126 Page ID
         The Control Panel is located at http://www.giganews.com/.
                                                                   #:5498

         Download Measurement and Accounting
         Downloads are measured in bytes, as the articles leave our servers, and downloads are recorded, and charged
         to the current period, at the time the session ends. When the download limit of your account is reached, all
         access will be suspended completely until the account is recycled, upgraded, or renewed on the regular
         monthly renewal date.

         If you are in the middle of a download when you reach the download limit, Giganews may, or may not, (at our
         sole discretion), allow you to complete the download. Bytes downloaded beyond the limit of the account may
         be charged to the following period, and may be cumulative, conceivably being charged to more than one
         future period if the limit is exceeded by a large amount.

         Usage Notification
         You may be notified by e-mail, at the address on record, when you approach or reach your download limit. You
         may also monitor the status of your downloads using our online Control Panel at http://www.giganews.com/.

         Invoice Notification
         Your only method for reviewing your invoices will be through the online control panel.

         Payment
         Giganews will accept payment via credit card and PayPal. We will attempt to charge your credit card for any
         balance on your account. If the first charge attempt for an invoice fails, service will be suspended. Service will
         be resumed when you either request us to charge the card again or give us a different card number using our
         online Control Panel at http://www.giganews.com/. If payment for an invoice fails repeatedly, you may need to
         contact our billing office via e-mail at billing@giganews.com to reactivate your service.

         Cancellation
         Your Giganews service can be cancelled only from our online Control Panel at http://www.giganews.com/, by
         the required times, as specified below.

         All accounts are renewed automatically until a cancellation request is received.

         Cancellations during any trial period offered by Giganews must be entered prior to the end of the trial period,
         specified on the startup e-mail.

         Cancellations of regular (non-trial) accounts must be entered prior to the end of the current service period in
         order for them to take effect before the next service period begins. Cancellations submitted after the next
         service period begins, will take effect when that next service period is completed. Accounts rotate to the next
         service period, on the date indicated, at or shortly after midnight, US Central Time.

         Refunds
         No refunds will be given under any circumstances. No refunds will be considered for accounts deleted for
         violation of our Terms of Service or Acceptable Use Policy.

         Dump Truck Data Retention:
         We will retain data stored on the Dump Truck service (the "Dump Truck Data") for as long as your account is
         active or as needed to provide you services. After you cancel your account, we may retain the Dump Truck Data
         as necessary to comply with our legal obligations, resolve disputes, and enforce our agreements. Where
         possible (and subject to the foregoing), we generally remove the Dump Truck Data within 30 days of
         cancellation of service.

         Duplicate Accounts
         Creation of multiple accounts will require payment in full for each account created. Cancellation and refund
         provisions apply to each account, without regard to any other accounts you may have with Giganews.

         Valid E-mail Address
         Giganews provides all support and member service by e-mail. A valid e-mail address is a prerequisite to
         obtaining Giganews service, since your account information will be e-mailed to the address you provide. You
         are required to keep us notified of changes to your e-mail address, using the update feature on our control
         panel. Giganews may send you periodic e-mail, to this address, about the status of your account and changes
         in the service that might affect you.

         Indemnify and Hold Harmless
         You are responsible for all actions that occur in regards to your account. As a condition of service, you agree to
         indemnify and hold harmless Giganews, its officers, employees, agents, and shareholders, for any cause of

                                                                                                                              Exh. 2, Pg. 10
http://www.giganews.com/legal/tos_personal.html[3/9/2013 9:56:20 AM]
Usenet Personal Account Terms of Service - Giganews
                    Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 47 of 126 Page ID
         action out of your account with use or your use of the service.
                                                      #:5499
         Termination of Service
         Giganews, reserves the right to suspend, terminate, or refuse service to anyone, at any time, for any reason.

         Giganews reserves the right to revise, supplement, or rescind any of our policies or terms of service, at any time,
         without prior notice.

         It is the member's responsibility to stay informed of our current "Terms and Conditions", and our "Acceptable
         Use Policy" found at http://www.giganews.com/legal/aup.html.

         By logging on to your account you agree to these Terms and Conditions and to our Acceptable Usage Policies.




                                                    Get the best Usenet service in the world!                         START FREE TRIAL




         GIGANEWS                                     RESOURCES                                  SUPPORT                       LANGUAGES

         About Us                                     Speed & Traceroute                         Support Overview              English
         Terms of Service                             VyprVPN                                    Welcome Kit                   Français
         Legal                                        Dump Truck                                 Usenet Support                Português
         DMCA                                         Mimo                                       VyprVPN Support                 体中
         Site Feedback                                Giganews Accelerator                       Dump Truck Support            Deutsch
         Site Map                                     Blog                                       Mimo Support                  Español
         Affiliates                                   Peering                                    Usenet University             日本語
         Outsourcing                                  Refer a Friend                             Contact Support
         Careers                                      News                                                                     Nederlands
                                                                                                                               繁體中




         Giganews® and the Giganews logo are registered trademarks of Giganews, Inc. ©2013 Giganews, Inc.




                                                                                                                                            Exh. 2, Pg. 11
http://www.giganews.com/legal/tos_personal.html[3/9/2013 9:56:20 AM]
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 48 of 126 Page ID
                                  #:5500




              First Amended Complaint
                      Exhibit 3




                                               First Amended Complaint Exhibit 3
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 49 of 126 Page ID
                                                  #:5501
Exh. 3, Pg. 1
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 50 of 126 Page ID
                                                  #:5502
Exh. 3, Pg. 2
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 51 of 126 Page ID
                                                  #:5503
Exh. 3, Pg. 3
                                     Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 52 of 126 Page ID
                                                                       #:5504




                Yenc@power-
                post.org continues
                23 days later at
                image 434.

                me@not.eu stops
                at image 433.
Exh. 3, Pg. 4
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 53 of 126 Page ID
                                  #:5505




              First Amended Complaint
                      Exhibit 4




                                               First Amended Complaint Exhibit 4
          Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 54 of 126 Page ID
                                            #:5506




Rom_P10_Vol4_#4_002_Co    Rom_P10_Vol4_#4_003_Bio   Rom_P10_Vol4_#4_004_Ol    Rom_P10_Vol4_#4_005_Ol    Rom_P10_Vol4_#4_006_Ol
       ntents.jpg               graphies.jpg              ga_01.jpg                 ga_02.jpg                 ga_03.jpg




Rom_P10_Vol4_#4_007_Ol    Rom_P10_Vol4_#4_008_Ol    Rom_P10_Vol4_#4_009_Ol    Rom_P10_Vol4_#4_010_Je    Rom_P10_Vol4_#4_011_Je
      ga_04.jpg                 ga_05.jpg                 ga_06.jpg                ssica_01.jpg              ssica_02.jpg




Rom_P10_Vol4_#4_012_Je    Rom_P10_Vol4_#4_013_Je    Rom_P10_Vol4_#4_014_Je    Rom_P10_Vol4_#4_015_Je    Rom_P10_Vol4_#4_016_Ha
     ssica_03.jpg              ssica_04.jpg              ssica_05.jpg              ssica_06.jpg               nna_01.jpg




Rom_P10_Vol4_#4_017_Ha    Rom_P10_Vol4_#4_018_Ha    Rom_P10_Vol4_#4_019_Ha    Rom_P10_Vol4_#4_020_Ha    Rom_P10_Vol4_#4_021_Fa
      nna_02.jpg                nna_03.jpg                nna_04.jpg                nna_05.jpg                rah_01.jpg




Rom_P10_Vol4_#4_022_Fa    Rom_P10_Vol4_#4_023_Fa    Rom_P10_Vol4_#4_024_Fa    Rom_P10_Vol4_#4_025_Pol   Rom_P10_Vol4_#4_026_Pol
      rah_02.jpg                rah_03.jpg                rah_04.jpg                ina_01.jpg                ina_02.jpg




Rom_P10_Vol4_#4_027_Pol   Rom_P10_Vol4_#4_028_Pol   Rom_P10_Vol4_#4_029_Pol   Rom_P10_Vol4_#4_030_Pol   Rom_P10_Vol4_#4_031_Ol
      ina_03.jpg                ina_04.jpg                ina_05.jpg                ina_06.jpg                ga_01.jpg




Rom_P10_Vol4_#4_032_Ol    Rom_P10_Vol4_#4_033_Ol    Rom_P10_Vol4_#4_034_Ol    Rom_P10_Vol4_#4_035_Ol    Rom_P10_Vol4_#4_036_Ol
      ga_02.jpg                 ga_03.jpg                 ga_04.jpg                 ga_05.jpg                 ga_06.jpg

                                                                                                            Exh. 4, Pg. 1
          Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 55 of 126 Page ID
                                            #:5507




Rom_P10_Vol4_#4_037_Ol    Rom_P10_Vol4_#4_038_Na    Rom_P10_Vol4_#4_039_Na    Rom_P10_Vol4_#4_040_Na    Rom_P10_Vol4_#4_041_Na
      ga_07.jpg                 stia_01.jpg               stia_02.jpg               stia_03.jpg               stia_04.jpg




Rom_P10_Vol4_#4_042_Lor   Rom_P10_Vol4_#4_043_Lor   Rom_P10_Vol4_#4_044_Lor   Rom_P10_Vol4_#4_045_Lor   Rom_P10_Vol4_#4_046_Na
       i_01.jpg                  i_02.jpg                  i_03.jpg                  i_04.jpg                 dya_01.jpg




Rom_P10_Vol4_#4_047_Na    Rom_P10_Vol4_#4_048_Na    Rom_P10_Vol4_#4_049_Na    Rom_P10_Vol4_#4_050_Na    Rom_P10_Vol4_#4_051_Na
      dya_02.jpg                dya_03.jpg                dya_04.jpg                dya_05.jpg                dya_06.jpg




Rom_P10_Vol4_#4_052_Ka    Rom_P10_Vol4_#4_053_Ka    Rom_P10_Vol4_#4_054_Ka    Rom_P10_Vol4_#4_055_Ka    Rom_P10_Vol4_#4_056_Ka
      tia_01.jpg                tia_02.jpg                tia_03.jpg                tia_04.jpg               therine_01.jpg




Rom_P10_Vol4_#4_057_Ka    Rom_P10_Vol4_#4_058_Ka    Rom_P10_Vol4_#4_059_Ka    Rom_P10_Vol4_#4_060_Vik   Rom_P10_Vol4_#4_061_Vik
     therine_02.jpg            therine_03.jpg            therine_04.jpg             toria_01.jpg              toria_02.jpg




Rom_P10_Vol4_#4_062_Vik   Rom_P10_Vol4_#4_063_Vik   Rom_P10_Vol4_#4_064_Vik   Rom_P10_Vol4_#4_065_Vik   Rom_P10_Vol4_#4_066_Le
      toria_03.jpg              toria_04.jpg              toria_05.jpg              toria_06.jpg              na_01.jpg




Rom_P10_Vol4_#4_067_Le    Rom_P10_Vol4_#4_068_Le    Rom_P10_Vol4_#4_069_Le    Rom_P10_Vol4_#4_070_Le    Rom_P10_Vol4_#4_071_Le
      na_02.jpg                 na_03.jpg                 na_04.jpg                 na_05.jpg                 na_06.jpg

                                                                                                            Exh. 4, Pg. 2
          Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 56 of 126 Page ID
                                            #:5508




Rom_P10_Vol4_#4_072_Le   Rom_P10_Vol4_#4_073_Le   Rom_P10_Vol4_#4_074_Sv   Rom_P10_Vol4_#4_075_Sv   Rom_P10_Vol4_#4_076_Sv
      na_07.jpg                na_08.jpg                eta_01.jpg               eta_02.jpg               eta_03.jpg




Rom_P10_Vol4_#4_077_Sv   Rom_P10_Vol4_#4_078_Sv   Rom_P10_Vol4_#4_079_Sv   Rom_P10_Vol4_#4_080_Sv   Rom_P10_Vol4_#4_081_Ol
      eta_04.jpg               eta_05.jpg               eta_06.jpg               eta_07.jpg               ga_01.jpg




Rom_P10_Vol4_#4_082_Ol   Rom_P10_Vol4_#4_083_Ol   Rom_P10_Vol4_#4_084_Ol   Rom_P10_Vol4_#4_085_Ol   Rom_P10_Vol4_#4_086_Ol
      ga_02.jpg                ga_03.jpg                ga_04.jpg                ga_05.jpg                ga_06.jpg




Rom_P10_Vol4_#4_087_Ol   Rom_P10_Vol4_#4_088_Ol
      ga_07.jpg                ga_08.jpg




                                                                                                       Exh. 4, Pg. 3
          Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 57 of 126 Page ID
                                            #:5509




Rom_P10_Vol_4_#5_081_D    Rom_P10_Vol_4_#5_082_O   Rom_P10_Vol_4_#5_083_O   Rom_P10_Vol_4_#5_084_O    Rom_P10_Vol_4_#5_085_O
      aria_04.jpg               lga_01.jpg               lga_02.jpg               lga_03.jpg                lga_04.jpg




Rom_P10_Vol_4_#5_086_O    Rom_P10_Vol_4_#5_087_N   Rom_P10_Vol_4_#5_002_B   Rom_P10_Vol_4_#5_003_In   Rom_P10_Vol_4_#5_004_C
      lga_05.jpg               ext_Issue.jpg            ack_Cover.jpg              side.jpg                 ontents.jpg




Rom_P10_Vol_4_#5_005_Bi   Rom_P10_Vol_4_#5_006_K   Rom_P10_Vol_4_#5_007_K   Rom_P10_Vol_4_#5_008_K    Rom_P10_Vol_4_#5_009_K
     ographies.jpg             senia_01.jpg             senia_02.jpg             senia_03.jpg              senia_04.jpg




Rom_P10_Vol_4_#5_010_N    Rom_P10_Vol_4_#5_011_N   Rom_P10_Vol_4_#5_012_N   Rom_P10_Vol_4_#5_013_N    Rom_P10_Vol_4_#5_014_N
     atalia_01.jpg             atalia_02.jpg            atalia_03.jpg            atalia_04.jpg             atalia_05.jpg




Rom_P10_Vol_4_#5_015_N    Rom_P10_Vol_4_#5_016_N   Rom_P10_Vol_4_#5_017_N   Rom_P10_Vol_4_#5_018_N    Rom_P10_Vol_4_#5_019_N
     atalia_06.jpg             atalia_07.jpg            atalia_08.jpg            atalia_09.jpg             atalia_10.jpg




Rom_P10_Vol_4_#5_020_A    Rom_P10_Vol_4_#5_021_A   Rom_P10_Vol_4_#5_022_A   Rom_P10_Vol_4_#5_023_A    Rom_P10_Vol_4_#5_024_O
     ndrea_01.jpg              ndrea_02.jpg             ndrea_03.jpg             ndrea_04.jpg              lesya_01.jpg




Rom_P10_Vol_4_#5_025_O    Rom_P10_Vol_4_#5_026_O   Rom_P10_Vol_4_#5_027_O   Rom_P10_Vol_4_#5_028_O    Rom_P10_Vol_4_#5_029_O
     lesya_02.jpg              lesya_03.jpg             lesya_04.jpg             lesya_05.jpg              lesya_06.jpg

                                                                                                         Exh. 4, Pg. 4
          Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 58 of 126 Page ID
                                            #:5510




Rom_P10_Vol_4_#5_030_J    Rom_P10_Vol_4_#5_031_J    Rom_P10_Vol_4_#5_032_J    Rom_P10_Vol_4_#5_033_J    Rom_P10_Vol_4_#5_034_Vi
      ullja_01.jpg              ullja_02.jpg              ullja_03.jpg              ullja_04.jpg             ctoria_01.jpg




Rom_P10_Vol_4_#5_035_Vi   Rom_P10_Vol_4_#5_036_Vi   Rom_P10_Vol_4_#5_037_Vi   Rom_P10_Vol_4_#5_038_Vi   Rom_P10_Vol_4_#5_039_P
     ctoria_02.jpg             ctoria_03.jpg             ctoria_04.jpg             ctoria_05.jpg           erfect10_Com.jpg




Rom_P10_Vol_4_#5_040_L    Rom_P10_Vol_4_#5_041_L    Rom_P10_Vol_4_#5_042_L    Rom_P10_Vol_4_#5_043_L    Rom_P10_Vol_4_#5_044_M
     esya_01.jpg               esya_02.jpg               esya_03.jpg               esya_04.jpg                aria_01.jpg




Rom_P10_Vol_4_#5_045_M    Rom_P10_Vol_4_#5_046_M    Rom_P10_Vol_4_#5_047_M    Rom_P10_Vol_4_#5_048_Y    Rom_P10_Vol_4_#5_049_Y
      aria_02.jpg               aria_03.jpg               aria_04.jpg               umi_01.jpg                umi_02.jpg




Rom_P10_Vol_4_#5_050_Y    Rom_P10_Vol_4_#5_051_Y    Rom_P10_Vol_4_#5_052_Y    Rom_P10_Vol_4_#5_053_Y    Rom_P10_Vol_4_#5_054_Y
      umi_03.jpg                umi_04.jpg                umi_05.jpg                umi_06.jpg                umi_07.jpg




Rom_P10_Vol_4_#5_055_Y    Rom_P10_Vol_4_#5_056_M    Rom_P10_Vol_4_#5_057_E    Rom_P10_Vol_4_#5_058_E    Rom_P10_Vol_4_#5_059_E
      umi_08.jpg              iss_Behavin.jpg            mese_01.jpg               mese_02.jpg               mese_03.jpg




Rom_P10_Vol_4_#5_060_E    Rom_P10_Vol_4_#5_061_E    Rom_P10_Vol_4_#5_062_L    Rom_P10_Vol_4_#5_063_L    Rom_P10_Vol_4_#5_064_L
     mese_04.jpg               mese_05.jpg                ucy_01.jpg                ucy_02.jpg                ucy_03.jpg

                                                                                                            Exh. 4, Pg. 5
          Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 59 of 126 Page ID
                                            #:5511




RoM_P10_Vol_4_#5_065_L   Rom_P10_Vol_4_#5_066_L   Rom_P10_Vol_4_#5_067_L   Rom_P10_Vol_4_#5_068_N   Rom_P10_Vol_4_#5_069_N
      ucy_04.jpg               ucy_05.jpg               ucy_06.jpg               ina_01.jpg               ina_02.jpg




Rom_P10_Vol_4_#5_070_N   Rom_P10_Vol_4_#5_071_N   Rom_P10_Vol_4_#5_072_N   Rom_P10_Vol_4_#5_073_A   Rom_P10_Vol_4_#5_074_R
      ina_03.jpg               ina_04.jpg               ina_05.jpg                 dd.jpg                ebecca_01.jpg




Rom_P10_Vol_4_#5_075_R   Rom_P10_Vol_4_#5_076_R   Rom_P10_Vol_4_#5_077_R   Rom_P10_Vol_4_#5_078_D   Rom_P10_Vol_4_#5_079_D
     ebecca_02.jpg            ebecca_03.jpg            ebecca_04.jpg             aria_01.jpg              aria_02.jpg




Rom_P10_Vol_4_#5_080_D
      aria_03.jpg




                                                                                                       Exh. 4, Pg. 6
           Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 60 of 126 Page ID
                                             #:5512




Rom_P10_Vol4_#3_072_Ca     Rom_P10_Vol4_#3_073_Pa     Rom_P10_Vol4_#3_074_Pa     Rom_P10_Vol4_#3_075_Pa     Rom_P10_Vol4_#3_076_Pa
       rla_05.jpg               mela_01.jpg                mela_02.jpg                mela_03.jpg                mela_04.jpg




Rom_P10_Vol4_#3_077_Pa     Rom_P10_Vol4_#3_078_Pa     Rom_P10_Vol4_#3_079_Ma     Rom_P10_Vol4_#3_080_Ma     Rom_P10_Vol4_#3_081_Ma
     mela_05.jpg                mela_06.jpg                 sha_01.jpg                 sha_02.jpg                 sha_03.jpg




Rom_P10_Vol4_#3_082_Ma     Rom_P10_Vol4_#3_083_Ma     Rom_P10_Vol4_#3_084_Ma     Rom_P10_Vol4_#3_085_Ma     Rom_P10_Vol4_#3_086_Ma
      sha_04.jpg                 sha_05.jpg                 sha_06.jpg                 sha_07.jpg                 sha_08.jpg




Rom_P10_Vol4_#3_087_Ja     Rom_P10_Vol4_#3_088_Ja     Rom_P10_Vol4_#3_089_Ja     Rom_P10_Vol4_#3_090_Ja     Rom_P10_Vol4_#3_002_Ba
      na_01.jpg                  na_02.jpg                  na_03.jpg                  na_04.jpg                 ck_Cover.jpg




Rom_P10_Vol4_#3_003_Co     Rom_P10_Vol4_#3_004_Bio    Rom_P10_Vol4_#3_005_Bio    Rom_P10_Vol4_#3_006_Irin   Rom_P10_Vol4_#3_007_Irin
       ntents.jpg              graphies_01.jpg            graphies_02.jpg               a_01.jpg                   a_02.jpg




Rom_P10_Vol4_#3_008_Irin   Rom_P10_Vol4_#3_009_Irin   Rom_P10_Vol4_#3_010_Irin   Rom_P10_Vol4_#3_011_Irin   Rom_P10_Vol4_#3_012_Irin
       a_03.jpg                   a_04.jpg                   a_05.jpg                   a_06.jpg                   a_07.jpg




Rom_P10_Vol4_#3_013_Irin   Rom_P10_Vol4_#3_014_Irin   Rom_P10_Vol4_#3_015_Irin   Rom_P10_Vol4_#3_016_Irin   Rom_P10_Vol4_#3_017_Do
       a_08.jpg                   a_09.jpg                   a_10.jpg                   a_11.jpg                 minika_01.jpg

                                                                                                                Exh. 4, Pg. 7
          Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 61 of 126 Page ID
                                            #:5513




Rom_P10_Vol4_#3_018_Do    Rom_P10_Vol4_#3_019_Do    Rom_P10_Vol4_#3_020_Do    Rom_P10_Vol4_#3_021_Isa   Rom_P10_Vol4_#3_022_Isa
     minika_02.jpg             minika_03.jpg             minika_04.jpg              belle_01.jpg              belle_02.jpg




Rom_P10_Vol4_#3_023_Isa   Rom_P10_Vol4_#3_024_Isa   Rom_P10_Vol4_#3_025_Isa   Rom_P10_Vol4_#3_026_Isa   Rom_P10_Vol4_#3_027_Isa
      belle_03.jpg              belle_04.jpg              belle_05.jpg              belle_06.jpg              belle_07.jpg




Rom_P10_Vol4_#3_028_Isa   Rom_P10_Vol4_#3_029_Jo    Rom_P10_Vol4_#3_030_Jo    Rom_P10_Vol4_#3_031_Zu    Rom_P10_Vol4_#3_032_Zu
      belle_08.jpg               di_01.jpg                 di_02.jpg               zana_01.jpg               zana_02.jpg




Rom_P10_Vol4_#3_033_Zu    Rom_P10_Vol4_#3_034_Zu    Rom_P10_Vol4_#3_035_St    Rom_P10_Vol4_#3_036_St    Rom_P10_Vol4_#3_037_St
     zana_03.jpg               zana_04.jpg               ayce_01.jpg               ayce_02.jpg               ayce_03.jpg




Rom_P10_Vol4_#3_038_St    Rom_P10_Vol4_#3_039_St    Rom_P10_Vol4_#3_040_Ol    Rom_P10_Vol4_#3_041_Ol    Rom_P10_Vol4_#3_042_Ol
     ayce_04.jpg               ayce_05.jpg                ga_01.jpg                 ga_02.jpg                 ga_03.jpg




Rom_P10_Vol4_#3_043_Ol    Rom_P10_Vol4_#3_044_Es    Rom_P10_Vol4_#3_045_Es    Rom_P10_Vol4_#3_046_Es    Rom_P10_Vol4_#3_047_Es
      ga_04.jpg                 zter_01.jpg               zter_02.jpg               zter_03.jpg               zter_04.jpg




Rom_P10_Vol4_#3_048_Es    Rom_P10_Vol4_#3_049_Es    Rom_P10_Vol4_#3_050_Es    Rom_P10_Vol4_#3_051_Te    Rom_P10_Vol4_#3_052_Te
      zter_05.jpg               zter_06.jpg               zter_07.jpg               reza_01.jpg               reza_02.jpg

                                                                                                            Exh. 4, Pg. 8
          Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 62 of 126 Page ID
                                            #:5514




Rom_P10_Vol4_#3_053_Te    Rom_P10_Vol4_#3_054_Te    Rom_P10_Vol4_#3_055_Kal   Rom_P10_Vol4_#3_056_Kal   Rom_P10_Vol4_#3_057_Kal
      reza_03.jpg               reza_04.jpg                in_01.jpg                 in_02.jpg                 in_03.jpg




Rom_P10_Vol4_#3_058_Ali   Rom_P10_Vol4_#3_059_Ali   Rom_P10_Vol4_#3_060_Ali   Rom_P10_Vol4_#3_061_Ali   Rom_P10_Vol4_#3_062_Ma
      na_01.jpg                 na_02.jpg                 na_03.jpg                 na_04.jpg                 rtina_01.jpg




Rom_P10_Vol4_#3_063_Ma    Rom_P10_Vol4_#3_064_Ro    Rom_P10_Vol4_#3_065_Ro    Rom_P10_Vol4_#3_066_An    Rom_P10_Vol4_#3_067_An
      rtina_02.jpg              nni_01.jpg                nni_02.jpg                gela_01.jpg               gela_02.jpg




Rom_P10_Vol4_#3_068_Ca    Rom_P10_Vol4_#3_069_Ca    Rom_P10_Vol4_#3_070_Ca    Rom_P10_Vol4_#3_071_Ca
       rla_01.jpg                rla_02.jpg                rla_03.jpg                rla_04.jpg




                                                                                                            Exh. 4, Pg. 9
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 63 of 126 Page ID
                                  #:5515




              First Amended Complaint
                      Exhibit 5




                                               First Amended Complaint Exhibit 5
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 64 of 126 Page ID
                                                  #:5516
Exh. 5, Pg. 1
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 65 of 126 Page ID
                                                  #:5517
Exh. 5, Pg. 2
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 66 of 126 Page ID
                                                  #:5518
Exh. 5, Pg. 3
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 67 of 126 Page ID
                                                  #:5519
Exh. 5, Pg. 4
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 68 of 126 Page ID
                                                  #:5520
Exh. 5, Pg. 5
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 69 of 126 Page ID
                                                  #:5521
Exh. 5, Pg. 6
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 70 of 126 Page ID
                                                  #:5522
Exh. 5, Pg. 7
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 71 of 126 Page ID
                                                  #:5523
Exh. 5, Pg. 8
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 72 of 126 Page ID
                                  #:5524




              First Amended Complaint
                      Exhibit 6




                                               First Amended Complaint Exhibit 6
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 73 of 126 Page ID
                                  #:5525




                                                                      Exh. 6, Pg. 1
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 74 of 126 Page ID
                                  #:5526




                                                                      Exh. 6, Pg. 2
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 75 of 126 Page ID
                                  #:5527




                                                                      Exh. 6, Pg. 3
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 76 of 126 Page ID
                                  #:5528




                                                                      Exh. 6, Pg. 4
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 77 of 126 Page ID
                                  #:5529




                                                                      Exh. 6, Pg. 5
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 78 of 126 Page ID
                                                  #:5530
Exh. 6, Pg. 6
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 79 of 126 Page ID
                                  #:5531




                                                                      Exh. 6, Pg. 7
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 80 of 126 Page ID
                                  #:5532




              First Amended Complaint
                      Exhibit 7




                                               First Amended Complaint Exhibit 7
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 81 of 126 Page ID
                                                  #:5533
Exh. 7, Pg. 1
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 82 of 126 Page ID
                                                  #:5534
Exh. 7, Pg. 2
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 83 of 126 Page ID
                                                  #:5535
Exh. 7, Pg. 3
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 84 of 126 Page ID
                                                  #:5536
Exh. 7, Pg. 4
                Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 85 of 126 Page ID
                                                  #:5537
Exh. 7, Pg. 5
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 86 of 126 Page ID
                                  #:5538




              First Amended Complaint
                      Exhibit 8




                                               First Amended Complaint Exhibit 8
NewsAdmin / Usenet Statistics / Posts by Usenet Provider
                       Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 87 of 126 Page ID
                                                         #:5539




                                    The values indicated in the following report are taken from a sample population and are not reflective of total
                                    Usenet traffic. This population is sampled 240 times a day. Return to index of stats



                                  Posts by Usenet Provider - 06/08/2011                                                          Select
                                                                                                                                 Select    date...
                                                                                                                                        date...



                                                                                                                                                      100Proofnews
    NewsGuy                            1      astraweb.com                                            158,682        6,110,687           6237.0       APN
    100Proofnews                                                                                                                                      AccessUsenet
                                       2      xsnews.nl                                               107,901        5,752,790           5354.7       Active-News
    Newsgroupdirect
    NNTPjunkie                         3      news-service.com                                        93,862         4,689,548           4978.6       Airnews
    Newsdemon                                                                                                                                         Alibis
                                       4      giganews.com                                            48,648         2,054,526           2962.5       All The Newsgroups
                                                                                                                                                      Alt Binaries
                                       5      newsguy.com                                             41,875          48,442              39.4
    NNTPjunkie                                                                                                                                        Altopia
    UsenetServer                       6      newscene.com                                            39,558          42,178              39.6        AnarQy
    NewsGuy                                                                                                                                           AnonymousNewsfeed
    Newshosting                        7      highwinds-media.com                                     25,198         1,041,765           721.3        Astraweb
    Newsgroupdirect                    8      readnews.com                                            22,143          380,757            366.2        AtlantisNews
                                                                                                                                                      Bargain Newsfeeds
                                       9      eweka.nl                                                20,575         1,716,806           1455.1       BillyNews
                                                                                                                                                      Binaries Net
                                      10      tweaknews.nl                                            19,500          876,040            931.9
                                                                                                                                                      Binary Boy
                                      11      googlegroups.com                                        13,565          13,568              20.1        BlockNews
                                                                                                                                                      Bubba News
                                      12      supernews.com                                            8,293         2,366,057           3606.6       BudgetNews
                                      13      easynews.com                                             4,500          63,396              64.7        BuzzardNews
                                                                                                                                                      Download2day
                                      14      individual.net                                           4,168           4,168               4.9        Easynews
                                                                                                                                                      Eurofeeds
                                      15      aioe.org                                                 2,672           2,672               3.0        Flash Newsgroups
                                      16      nntpjunkie.com                                           2,221           2,290               1.6        Giganews
                                                                                                                                                      MaximumUsenet
                                      17      tin.it                                                   1,807           1,807               2.2        Megabitz
     alt.binaries.e-book
                                                                                                                                                      Meganetnews
                                      18      newshosting.com                                          1,266          75,756              55.9
                                                                                                                                                      NNTPjunkie
                                      19      bt.com                                                   1,176           6,098               9.0        Netfeeds
     alt.binaries.boneless
                                                                                                                                                      NewsGuy
                                      20      earthlink.com                                             821             833                1.2        NewsHosting
     Australia (.au)                  21      cv.net                                                    462            4,811               5.7        NewsRazor
                                                                                                                                                      NewsReader
                                      22      wanadoo.nl                                                246           11,560              10.7        Newsburg
     comcast.net                                                                                                                                      Newscene
                                      23      tele.dk                                                   230             230                0.3
                                                                                                                                                      Newsdemon
                                      24      alt.net                                                   229             251                0.3        Newsfeeds
                                                                                                                                                      Newsfusion
                                      25      stanford.edu                                              227             227                0.3        Newsgroup-Access
                                      26      euro.net                                                  129             129                0.2        Newsgroup-Binaries
                                                                                                                                                      Newsgroupdirect
                                      27      uni-berlin.de                                             105             105                0.1        Newsgroups
                                                                                                                                                      Newsville
                                      28      qwest.net                                                 92             1,924               1.8
                                      29      kabelfoon.nl                                              50               50                0.1
                                      30      mit.edu                                                   30               30                0.0
                                      31      bofh.it                                                   20               20                0.0
                                      32      fu-berlin.de                                              17               17                0.0
   .XXX, Domain Blocking &am...
                                      33      telia.net                                                  3               3                 0.0
                                      34      t-online.de                                                2               2                 0.0
   Google Dodges A Privacy B...
   Why BREIN May Spell Troub...       35      ucla.edu                                                   2               2                 0.0
   Newsgroup Posts & Int...           36      uu.net                                                     2               2                 0.0
   Usenet Providers & Cu...
                                      37      demon.co.uk                                                1               1                 0.0
   Can Spammers Benefit Usen...
                                      38      usc.edu                                                    1               1                 0.0

                                                                     Return to the main index of Usenet stats

                                                                                                                                                        Exh. 8, Pg. 1
http://newsadmin.com/postservice.asp?date=20110303[6/9/2011 9:07:13 PM]
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 88 of 126 Page ID
                                  #:5540




           1ϯ INFRINGING USENET PAYSITES MAKE UP 99.9% OF USENET


                  USENET PAYSITE              MYBYTES

                  astraweb.com                   6,237.0
                  xsnews.nl                      5,354.7
                  news-service.com               4,978.6
                  supernews.com                  3,606.6
                  giganews.com                   2,962.5
                  eweka.nl                       1,455.1
                  tweaknews.nl                     931.9
                  highwinds-media.com              721.3
                  readnews.com                     366.2
                  easynews.com                      64.7
                  newshosting.com                   55.9
                  newscene.com                      39.6
                  newsguy.com                       39.4

                  TOTAL                         26,813.5

                  googlegroups.com                   20.1




                                                                      Exh. 8, Pg. 2
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 89 of 126 Page ID
                                  #:5541




              First Amended Complaint
                      Exhibit 9




                                               First Amended Complaint Exhibit 9
   Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 90 of 126 Page ID
                                     #:5542



                                SOURCE OF INFRINGING P10 IMAGES

                                                     VALID
                                                              P10 TRADEMARK IN         DATE OF
 POSTING PAYSITE            EMAIL OF POSTER          EMAIL
                                                                   MESSAGE              POST
                                                       ?
giganews.com       0mn1-sneaking(a)sneakEmail.com     NO                               3/18/2011
giganews.com       bakster-@-the_door.inv             NO                              6/22/2009
giganews.com       Bassboat@myplace.com               NO               P10             6/9/2009
newsguy.com        Buck@Scanners.Inc                  NO             P10-v3.6         1/14/2010
news-service.com   catch@power-post.org               NO                              11/21/2010
titannews.com      doom@checkpointcharlies.de         NO                               6/30/2009
usenetserver.com   Flamberge@Planet.Earth             NO               P10            4/19/2011
giganews.com       FR-sneaking(a)sneakEmail.com       NO                               3/27/2011
giganews.com       FurBall@in-The-Woods.com           NO            P10-1999          4/19/2009
giganews.com       gemini3@12MENEBUGSshaw.ca          NO               P10            5/19/2009
newshosting.com    goldy39us@yahoo.com                              P10 2007          12/8/2009
easynews.com       grouse1@gDONTSPAMITmail.com        NO            Perfect10         9/16/2009
supernews.com      GutterMind@inthegutter.ugh         NO     Perfect10-junejuly2000   12/1/2009
supernews.com      here@there.com                     NO                              3/12/2011
giganews.com       Karolus@Irgendwo.XX                NO                              7/14/2009
giganews.com       Lost@GetSome.com                   NO               P10            8/11/2010
easynews.com       lucy@mablethorpe.btinternet.com    NO                              10/17/2010
giganews.com       me@not.eu                          NO             P10 2004          5/6/2009
newshosting.com    Mr.Sparkle@nowhere.com             NO                              12/2/2010
giganews.com       nowhere@somewhere.com              NO               P10             5/5/2009
giganews.com       Polander50@Poland.com              NO          RoM P10 Vol4 01      7/8/2009
supernews.com      shogun3@shogunate.com.jp           NO                              6/25/2010
giganews.com       somewhere.com                      NO              P10             4/17/2011
astraweb.com       Steam@abgap.com                    NO              P10             5/14/2009
giganews.com       stugart@yahoo.com                  NO              P10              3/1/2011
easynews.com       Sundog@OGWorld.org                 NO      Perfect 10 Fall 2002    4/24/2009
giganews.com       Thumper@Rabbit.com                 NO     P10Website April 2001     3/10/2009
titannews.com      tin@emerald.city.oz                NO                                7/8/2009
newsguy.com        Trin'@again.com                    NO            P10-2009's        4/19/2009
easynews.com       U_Name_It@spammers.com             NO                              3/30/2009
giganews.com       Woz (Woz)                          NO                              6/19/2009
giganews.com       Yenc@power-post.org                NO               P10            9/15/2010
giganews.com       zFox@In-The-Woods.com              NO               P10             4/5/2011




                                                                                       Exh. 9, Pg. 1
    Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 91 of 126 Page ID
                                      #:5543



                           SOURCE OF INFRINGING SONGS AND TV SHOWS


                                                     VALID       INFRINGED            DATE OF
   POSTING SITE             EMAIL OF POSTER
                                                    EMAIL?      WORK/ARTIST            POST
easynews.com       Audi O'Fyle                        NO           Bing Crosby       5/27/2011
giganews.com       Yenc@power-post.org                NO           Bing Crosby        6/6/2011
virginmedia.com    resting@home.com                   NO         Carlos Santana      10/9/2010
giganews.com       LesMoore@Mighty12.com              NO         Carlos Santana      5/24/2011
astraweb.com       TheBest@NZB-MAGIC.com              NO         Carlos Santana      3/26/2011
giganews.com       Yenc@power-post.org                NO         Carlos Santana      3/10/2011
news-service.com   yEncBin@Poster.com                 NO           Celine Dion        3/4/2011
telenet.be         nobody@here.com                    NO       Christina Aguilera    11/30/2011
news-service.com   alp@traum.com                      NO            CSI Miami        5/29/2011
newsdemon.com      Elcid@castillo.netl                NO          Elvis Presley      5/30/2011
astraweb.com       ChrisRock@downbeat.org             NO          Frank Sinatra      5/14/2011
newshosting.com    JBinUp@JBinUP.local                NO          Frank Sinatra      5/13/2011
news-service.com   News@Newsconnection.local          NO     How I Met Your Mother   3/29/2011
news-service.com   yEncBin@Poster.com                 NO     How I Met Your Mother   5/17/2011
news-service.com   Shane_54@nowhere.com               NO          Mariah Carey       2/17/2011
astraweb.com       TheBest@NZB-MAGIC.com              NO          Mariah Carey       3/17/2011
astraweb.com       poster@unknown.com                 NO        Michael Jackson      5/17/2011
astinews.de        Thunder-News@Thunder-News.org      NO        Michael Jackson      5/17/2011
astraweb.com       Yenc@power-post.org                NO        Sarah Brightman      1/26/2011
planet.nl          trein@trein.com                    NO        Sarah Brightman      1/30/2010
newshosting.com    Yenc@power-post.org                NO        Sarah Brightman       3/7/2011
giganews.com       DrummerDude@NoWhere.com            NO           The Beatles        6/3/2011
giganews.com       Metsfan_44@comcast.net             NO           The Beatles       5/13/2011
astraweb.com       nocrap@honestposting.com           NO           The Beatles       5/29/2011
giganews.com       Metsfan_44@comcast.net             NO       The Rolling Stones     3/8/2011
astraweb.com       nocrap@honestposting.com           NO       The Rolling Stones     6/2/2011
eweka.nl           Nowhereman@Nowhereland.fy          NO       The Rolling Stones     4/5/2011
supernews.com      ??Soulman@home.com                 NO          The Stylistics      7/8/2009
giganews.com       LesMoore@Mighty12.com              NO         Van Morrison        5/24/2011
dreamload.eu       usenet-4all@dreamload.com          NO         Van Morrison        4/15/2011




                                                                                     Exh. 9, Pg. 2
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 92 of 126 Page ID
                                  #:5544




              First Amended Complaint
                     Exhibit 10




                                             First Amended Complaint Exhibit 10
Welcome to the United States Department of Justice
                     Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 93 of 126 Page ID
                                                       #:5545




     Home » Briefing Room » Justice News                                                                                                        Printer Friendly




                                                     Department of Justice

                                                      Office of Public Affairs

                     FOR IMMEDIATE RELEASE                                          Thursday, January 19, 2012

                              Justice Department Charges Leaders of Megaupload
                               with Widespread Online Copyright Infringement
         WASHINGTON – Seven individuals and two corporations have been charged in the United States with
         running an international organized criminal enterprise allegedly responsible for massive worldwide
         online piracy of numerous types of copyrighted works, through Megaupload.com and other related
         sites, generating more than $175 million in criminal proceeds and causing more than half a billion
         dollars in harm to copyright owners, the U.S. Justice Department and FBI announced today.

         This action is among the largest criminal copyright cases ever brought by the United States and
         directly targets the misuse of a public content storage and distribution site to commit and facilitate
         intellectual property crime.

         The individuals and two corporations – Megaupload Limited and Vestor Limited – were indicted by a
         grand jury in the Eastern District of Virginia on Jan. 5, 2012, and charged with engaging in a
         racketeering conspiracy, conspiring to commit copyright infringement, conspiring to commit money
         laundering and two substantive counts off criminal copyright infringement. The individuals each face a
         maximum penalty of 20 years in prison on the charge of conspiracy to commit racketeering, five years
         in prison on the charge of conspiracy to commit copyright infringement, 20 years in prison on the
         charge of conspiracy to commit money laundering and    d five years in prison on each of the substantive
         charges of criminal copyright infringement.

         The indictment alleges that the criminal enterprise is led by Kim Dotcom, aka Kim Schmitz and Kim
         Tim Jim Vestor, 37, a resident of both Hong Kong and New Zealand. Dotcom founded Megaupload
                                                                                                                    Report a Crime
         Limited and is the director and sole shareholder of Vestor Limited, which has been used to hold his
         ownership interests in the Mega-affiliated sites.                                                          Get a Job

         In addition, the following alleged members of the Mega conspiracy were charged in the indictment:          Locate a Prison, Inmate, or Sex Offender

                 Finn Batato, 38, a citizen and resident of Germany, who is the chief marketing officer;            Apply for a Grant
                 Julius Bencko, 35, a citizen and resident of Slovakia, who is the graphic designer;                Submit a Complaint
                 Sven Echternach, 39, a citizen and resident of Germany, who is the head of business
                 development;                                                                                       Report Waste, Fraud, Abuse or
                 Mathias Ortmann, 40, a citizen of Germany and resident of both Germany and Hong Kong, who          Misconduct to the Inspector General
                 is the chief technical officer, co-founder and director;
                                                                                                                    Find Sales of Seized Property
                 Andrus Nomm, 32, a citizen of Estonia and resident of both Turkey and Estonia, who is a
                 software programmer and head of the development software division;                                 Find Help and Information for Crime
                 Bram van der Kolk, aka Bramos, 29, a Dutch citizen and resident of both the Netherlands and        Victims
                 New Zealand, who oversees programming and the underlying network structure for the Mega
                                                                                                                    Register, Apply for Permits, or Request
                 conspiracy websites.
                                                                                                                    Records
         Dotcom, Batato, Ortmann and van der Kolk were arrested today in Auckland, New Zealand, by New              Identify Our Most Wanted Fugitives
         Zealand authorities, who executed provisional arrest warrants requested by the United States. Bencko,
         Echternach and Nomm remain at large. Today, law enforcement also executed more than 20 search              Find a Form
         warrants in the United States and eight countries, seized approximately $50 million in assets and
                                                                                                                    Report and Identify Missing Persons
         targeted sites where Megaupload has servers in Ashburn, Va., Washington, D.C., the Netherlands and
         Canada. In addition, the U.S. District Court in Alexandria, Va., ordered the seizure of 18 domain          Contact Us
         names associated with the alleged Mega conspiracy.



                                                                                                                                        Exh. 10, Pg. 1
http://www.justice.gov/opa/pr/2012/January/12-crm-074.html[1/25/2012 12:51:16 PM]
Welcome to the United States Department of Justice
                     Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 94 of 126 Page ID
                                                                                       #:5546
         According to the indictment, for more than five years the conspiracy has operated      websites that
         unlawfully reproduce and distribute infringing copies of copyrighted works, including movies – often
         before their theatrical release – music, television programs, electronic books, and business and
         entertainment software on a massive scale. The conspirators’ content hosting site, Megaupload.com, is
         advertised as having more than one billion visits to the site, more than 150 million registered users, 50
         million daily visitors and accounting for four percent of the total traffic on the Internet. The estimated
         harm caused by the conspiracy’s criminal conduct to copyright holders is well in excess of $500
         million. The conspirators allegedlyy earned more than $175 million in illegal profits through
                                                                                                t        advertising
         revenue and selling premium memberships.

         The indictment states that the conspirators conducted their illegal operation using a business model
         expressly designed to promote uploading of the most popular copyrighted works for many millions of
         users to download. The indictment alleges that the site was structured to discourage the vast majority
         of its users from using Megaupload for long-term or personal storage by automatically deleting
         content that was not regularly downloaded. The conspirators further allegedly offered a rewards
         program that would provide users with financial incentives to upload popular content and drive web
         traffic to the site, often through user-generated websites known as linking sites. The conspirators
         allegedly paid users whom they specifically knew uploaded infringing content and publicized their
         links to users throughout the world.

         In addition, by actively supporting the use of third-party linking sites to publicize infringing content,
         the conspirators did not need to publicize such content on the Megaupload site. Instead, the
         indictment alleges that the conspirators manipulated the perception of content available on their
         servers by not providing a public search function on the Megaupload site and by not including popular
         infringing content on the publicly available lists of top content downloaded by its users.

         As alleged in the indictment, the conspirators failed to terminate accounts of users with known
         copyright infringement, selectively complied with their obligations to remove copyrighted materials
         from their servers and deliberately misrepresented to copyright holders that they had removed
         infringing content. For example, when notified by a rights holder that a file contained infringing
         content, the indictment alleges that the conspirators would disable only a single link to the file,
         deliberately and deceptively leaving the infringing content in place to make it seamlessly available to
         millions of users to access through any one of the many duplicate links available for that file.

         The indictment charges the defendants with conspiring to launder money by paying users through the
         sites’ uploader reward program and paying companies to host the infringing content.

         The case is being prosecuted by the U.S. Attorney’s Office for the Eastern District of Virginia and the
         Computer Crime & Intellectual Property Section in the Justice Department’s Criminal Division. The
         Criminal Division’s Office of International Affairs, Organized Crime and Gang Section, and Asset
         Forfeiture and Money Laundering Section also assisted with this case.

         The investigation was initiated and led by the FBI at the National Intellectual Property Rights
         Coordination Center (IPR Center), with assistance from U.S. Immigration and Customs Enforcement’s
         Homeland Security Investigations. Substantial and critical assistance was provided by the New
         Zealand Police, the Organised and Financial Crime Agency of New Zealand (OFCANZ), the Crown Law
         Office of New Zealand and the Office of the Solicitor General for New Zealand; Hong Kong Customs
         and the Hong Kong Department of Justice; the Netherlands Police Agency and the Public Prosecutor’s
         Office for Serious Fraud and Environmental Crime in Rotterdam; London’s Metropolitan Police
         Service; Germany’s Bundeskriminalamt and the German Public Prosecutors; and the Royal Canadian
         Mounted Police – Greater Toronto Area (GTA) Federal Enforcement Section and the Integrated
         Technological Crime Unit and the Canadian Department of Justice’s International Assistance Group.
         Authorities in the United Kingdom, Australia and the Philippines also provided assistance.

         This case is part of efforts being undertaken by the Department of Justice Task Force on Intellectual
         Property (IP Task Force) to stop the theft of intellectual property. Attorney General Eric Holder
         created the IP Task Force to combat the growing number of domestic and international intellectual
         property crimes, protect the health and safety of American consumers, and safeguard the nation’s
         economic security against those who seek to profit illegally from American creativity, innovation and
         hard work. The IP Task Force seeks to strengthen intellectual property rights protection through
         heightened criminal and civil enforcement, greater coordination among federal, state and local law
         enforcement partners, and increased focus on international enforcement efforts, including reinforcing
         relationships with key foreign partners and U.S. industry leaders. To learn more about the IP Task
         Force, go to www.justice.gov/dag/iptaskforce .

          12-074                                                                                 Criminal Division




                                                                                                                       Exh. 10, Pg. 2
http://www.justice.gov/opa/pr/2012/January/12-crm-074.html[1/25/2012 12:51:16 PM]
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 95 of 126 Page ID
                                  #:5547

    Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 1 of 72 PageID# 1



              IN THE UNITED STATES DISTRICT COURT FOR THE

                      EASTERN DISTRICT OF VIRGINIA

                              Alexandria Divi sion

UNITED STATES OF AMERICA                   )         Criminal No. 1:1 2CR3
                                           )
                                           )         Count One: 18 U.S.C. § I 962(d) -
                                           )         Conspiracy to Commit
                                           )         Racketeering
                                           )
                                           )         Count Two: 18 U.S.C. § 371 -
                                           )         Conspiracy to Conm1it Copyright
                                           )         Infringement
                                           )
     v.                                    )         Count Three: 18 U .S.c. § I 956(h) -
                                           )         Conspiracy to Commit
                                           )         Money Laundering
                                           )
                                           )         COlmt Four: 18 U.S.C. §§ 2, 23 19;
                                           )         17 U.S.C. § 506-
                                           )         Criminal Copyright Infringement By
                                           )         Di stributing a Copyrighted Work
                                           )         Being Prepared for Commercial
                                           )         Distribution on a Computer Network
KIM DOTCOM,                                )         & Aidin g and Abetting of Cri minal
MEGAUPLOAD LIMITED,                        )         Copyright Infringement
VESTOR LIMITED,                            )
FINN BATATO,                               )         Count Five: 18 U.S .C. §§ 2,23 19;
JULIUS BENCKO,                             )         17 U.S.C. § 506 -
SVEN ECHTERNACH,                           )         Criminal Copyright Infringement By
MATHIAS ORTMANN,                           )         Electronic Means &
ANDRUS N OMM , and                         )         Aiding and Abetting of Criminal
BRAM V AN DER KOLK,                        )         Copyright Infringement
                                           )
     Defendants                            )         UNDER SEAL

                                INDICTMENT

                  JANUARY 20 12 TERM - at Alexandria, Virginia

THE GRAND JURY CHARGES THAT:




                                                                                    Exh. 10, Pg. 3
 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 96 of 126 Page ID
                                   #:5548

       Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 2 of 72 PageID# 2



                                      GENERAL ALLEGATIONS

       At all times relevant to this Indictment:

        I.     KIM DOTCOM, MEGAUPLOAD LIMITED, VESTOR LIMITED, FINN

BATATO, JULrus BENCKO, SVEN ECHTERNACH, MATHIAS ORTMANN, ANDRUS

NOMM,and BRAM VANDER KOLK, the defendants, and others known and unknown to the

Grand Jwy, were members of the "Mega Conspiracy,>' a worldwide criminal organization whose

members engaged in criminal copyright infringement and money laWldering on a massive scale

with estimated hann to copyright holders well in excess of $500,000,000 and reported income in

excess of$175,000,000.

       2.      Megaupload.com is a commercial website and service operated by the Mega

Conspiracy that reproduces and distributes copies of popular copyrighted content over the

Internet without authorization. Since at least September 2005, Megaupload.com has been used

by the defendants and other members and associates of the Mega Conspiracy to willfully

reproduce and distribute many millions of infringing copies of copyrighted works, including

motion pictures. television programs, musical recordings, electronic books, images, video games,

and other computer software. Over the more than five years of its existence, the Mega

Conspiracy bas aggressively expanded its operations into a large number of related Internet
                                                                                        . .• dILIlal"'Uhl . ", _ .

businesses, which are connected directly to, or at least financially dependent upon, the criminal

conduct associated with Megaupload.com.

       3.      Megaupload.com was at one point in its history estimated to be the 13th most

frequently visited website on the entire Internet. The site claims to have had more than one

billion visitors in its history, more than 180,000,000 registered users to date, an average of




                                                   2                                                 Exh. 10, Pg. 4
 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 97 of 126 Page ID
                                   #:5549

       Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 3 of 72 PageID# 3



50 million daily visits, and to account for approximately four percent of the total traffic on

the Internet.

        4.      Megaupload.com's income comes primarily from two soW'Ces: premiwn

subscriptions and online advertising. Premium subscriptions for Megaupload.com have been

available for online purchase for as little as a few dollars per day or as much as approximately

$260 for a lifetime. In exchange for payment; the Mega Conspiracy provides the fast

reproduction and distribution of infringing copies of copyrighted works from its computer

servers located around the world. Premium users of the site, a small percentage of the overall

user base, are able to download and upload files with few. if any. limitations. SUbscription fees

collected during the existence of the Mega Conspiracy from premium users are estimated to be

more than $150 million. Online advertising on Megaupload.com and its associated websites,

which is heavily dependent on the popularity of copyright infringing content to attract website

visits, has further obtained more than $25 million for the Mega Conspiracy.

       5.       The financial proceeds of Mega upload.com "have been primarily directed to four

sources. First, the Conspiracy has directed the bulk of its revenues to the defendants, corporate

entities they control, other co-conspirators. and employees for their private financial gain.

Second, the Mega Conspiracy has spent millions of dollars developing and promoting

Megaupload.com and complementary Internet sites and services, such as Megavideo.eom.

Megaclick.com, Meg,porn.com, and a host of others (collectively the "Mega Sites"). Third, for

much of its operation, the Mega Conspiracy has offered an "Uploader Rewards" Program, which

promised premium subscribers transfers of cash and other financial incentives to upload popular

works, including copyrighted works, to computer servers under the Mega Conspiracy's direct

control and for the Conspiracy's ultimate financial benefit. The more popular content that was



                                                 3                                               Exh. 10, Pg. 5
 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 98 of 126 Page ID
                                   #:5550

       Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 4 of 72 PageID# 4



present on Mega Conspiracy servers would increase the number of visitors and premium users

that the Conspiracy could monetize. In total, the Mega Conspiracy directly paid uploaders

millions of dollars tIuough online payments. Fourth, the Mega Conspiracy spends millions of

dollars per month on the infrastructure supporting their businesses, including the leasing of

computers, ~osting charges, and Internet bandwidth. In contrast to legitimate Internet

distributors of copyrighted content, Megaupload.com does not make any significant pawents to

the copyright owners of the many thousands of works that are willfully reproduced and

distributed on the Mega Sites each and every day.

       6.      Any Internet user who goes to the Megaupload.com website can upload a

computer file. Once that user has selected a file on their computer and clicks the "upload"

bunon, Megaupload.com reproduces the file on at least one computer server it controls and

provides the uploading user with a unique lfnifonn Resource Locator ("URLI» link that allows

anyone with the link to download the file. For example, a link distributed on December 3, 2006

by defendant DOTCOM (www.megaupload.coml?d=BY15XE3V) links to'a musical recording

by U.S. recording artist U50 Cent." A single click on the link accesses a Megaupload.com

download page that allows any Internet user to download a copy of the file from a computer

server that is controlled by the Mega Conspiracy.

       7.      Megaupload.com advertises itself as a "cyberJocker," which is a private data

storage provider. However, as part of the design of the service, the vast majority of

Megaupload.com users do not have significant capabilities to store private content long·tenn.

Unregistered anonymous users (referred to as ''Non-Members'' by the Conspiracy) are allowed to

upload and download content files, but ~y Non-Member-uploaded content that is not

downloaded within 21 days is permanently deleted. Similarly, registered free users (or



                                                4                                               Exh. 10, Pg. 6
 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 99 of 126 Page ID
                                   #:5551

       Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 5 of 72 PageID# 5



"Members") are allowed to upload and download content files, but each uploaded file must be

downloaded every 90 days.in order to remain on the system. Only premium users have a

realistic chance of having any private long-term storage, ) since their files are not regularly

deleted due to I)on-use. In contrast, when any type cfuser on Megaupload.com uploads a copy

of a popular file that is repeatedly downloaded, including infringing copies of copyrighted works

available Jor download, that file remains on Mega Conspiracy-controlled computers and is

available for distribution by anyone who can locate an active link to the file.

       8.      Once a user clicks on a link, the user is generally brought to a download page for

the file. The download page contains online advertisements provided by the Conspiracy, which

means that every download on Megaupload.com provides a financial gain to the Conspiracy that

is directly tied to the download. The more popular the content, such as copies of well-known

copyrighted works, the more users that find their way to a Megaupload.com download page; the

access of these additional users, in tum, makes the Mega Conspiracy more money. Because only

a small percentage of Megaupload.com users pay for their use of the systems, Mega

Conspiracy's business strategy for advertising requires maximizing the number of online

downloads (i.e., distributions of content), which is <also inconsistent with the concept of

private storage.

       9.      In addition to displaying online advertisements, the download pages on

MegauDload.com are designed to increase premium subscriptions. All non-premium users are

encouraged to buy a premium subscription to decrease wait and download times, which can be at



I Even then, all users are warned in Megaupload,com's "Frequently Asked Questions" and
Terms of Service that they should not keep the soIecopy of any file on Megaupload.com and that
users bear all risk of data loss. The Mega Conspiracy's duty to retain any data for even a
premiwn user explicitly ends when either the premium subscription runs out or Megaupload,com
decides, at its soJe discretion and without any required notice, to stop operating.
                                                  5                                               Exh. 10, Pg. 7
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 100 of 126 Page ID
                                   #:5552

        Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 9 of 72 PageID# 9



         19.     Like Megaupload.com. Megavideo.com conceals many of the infringing copies of

popular copyrighted videos that are available on and distributed by the site and the associated

service. Megavideo.com does purport to provide both browse and search functions, but any

user's search on Megavideo.com for a full length copyrighted video (which can be downloaded

from a Mega Conspiracy-controJled server somewhere in the world) will not produce any results.

Similarly, browsing the front page of Megavideo.com does not sbow any obviously infringing

copies of any copyrighted works; instead, the page contains videos of news stories. user-

generated videos, and general Internet videos in a manner substantially similar to Youtube.com.2

Browsing the most-viewed videos in the Entertainment category on Megavideo.com.

however, has at times revealed a number of infringing copies of copyrighted works that are

available from Mega Conspiracy-controlled servers and are amongst the most viewed materials

being offered.

        20.      Members of the Conspiracy have publicly stated that they operate the Mega Sites

in compliance with the notice and takedown provisions of the Digital Millerurium Copyright

Act ("DMCA"), codified at Title 17, United States Code, Section 512, despite the fact that they

are violating its provisions. Internet providers gain a safe harbor under the DMCA from civil

copyright infringement suits in the United States if they meet certain criteria. The members of

Mega Conspiracy do not meet these criteria' beeause they are willfully infringing copyrights

themselves on these systems; have actual knowledge that the materials on their systems are


2   Members of the Mega Conspiracy purposefully copied content directly from Youtube.com in
order to populate Megavideo.com's content servers.

) Furthermore, the safe harbor requires that an eligible provider have an agent designated with
the U.S. Copyright Office to receive infringement notices; despite having millions of user.; in the
United States since at least the beginning of the Conspiracy, the Conspiracy did not designate
such an agent until October IS. 2009. years after Megaupload.com and many ofits associated
sites had been operating and the DMCA had gone into effect.
                                                9                                            Exh. 10, Pg. 8
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 101 of 126 Page ID
                                   #:5553

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 10 of 72 PageID# 10



infringing (or alternatively know facts or circwnstances that would make infringing material

apparent); receive a financial benefit directly attributable to copyright-infringing activity where

the provider can control that activity; and have not removed, or disabled access to, known

copyright infringing material from servers they control.

       21.        Members of the Mega Conspiracy negotiated the use of an "Abuse Tool" with

some major U.S. copyright holders to purportedly remove copyright-infringing material from

Mega Conspiracy-controlled servers. The Abuse Tool allowed copyright holders to enter

specific URL links to copyright infringing content of which they were aware, and they were

told by the Conspiracy that the Mega Conspiracy's systems would then remove, or disable

access to, the material from computer servers the Conspiracy controls. The Mega Conspiracy's

Abuse Tool did not actually limction as a DMCA compliance tool as the copyright owners were

led to believe.

       22.        When a file is being uploaded to Megaupload.com, the Conspiracy's automated

system calculates a unique identifier for the file (called a "MDS bash'') that is generated using a

mathematical algorithm. If, after the MDS hash calculation, the system determines that the

uploading file already exists on a server controlled by the Mega Conspiracy, Megaupload.com

does not reproduce a second copy of the file on that server. Instead, the system provides a new

and unique URL link to the new user that is pointed to the original file already present on the

server. If there is more than one URL link to a file, then any attempt by the copyright holder to

terminate access to the file using the Abuse Tool or other DMCA takedown request will fall

because the additional access links will continue to be available.

       23.        The infringing copy of the copyrighted work, therefore, remains on the

Conspiracy's systems (and accessible to at least one member of the public) as long as a single


                                                  to                                           Exh. 10, Pg. 9
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 102 of 126 Page ID
                                   #:5554

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 11 of 72 PageID# 11



link remains unknown to the copyright holder. The Conspiracy's internal reference database

tracks the links that have been generated by the system, but duplicative links to infringing

materials are neither disclosed to copyright holders, nor are they automatically deleted when a

copyright holder either uses the Abuse Tool or makes a standard DMCA copyright infringement

take'down request. During the course of,the Conspiracy. the Mega Conspiracy has received

many millions ofrequests (through the Abuse Tool and otherwise) to remove infringing copies

of copyrighted works and yet the Conspiracy has, at best, only deleted the particular URL of

Which the copyright holder complained, and purposefully left the actual infringing copy of the

copyrighted work on the Mega Conspiracy-controlled server and any other access links

completely intact.

       24.     In addition to copyrighted files, other types of illicit content have been uploaded

onto the Megaupload.com servers, including child pornography and terrorism propaganda

videos. Members oftbe Conspiracy have indicated to each other that they can automatically

identify and delete such materials on all of their servers by calculating MD5 hash values of

known child pornography or other illicit content, searching the system for these values, and

eliminating them; in fact, such files with matching hash values have been deleted from the Mega

Conspiracy's servers. Members of the Mega Conspiracy have failed to implement a similar

program to actually delete or terminate access to copyright infringing content.

       25.     On or about June 24, 2010, members of the Mega Conspiracy were informed,

pursuant to a criminal search warrant from the U.S. District Court for the Eastem District of

Virginia. that thirty-nine infringing copies   of copyrighted motion pictures were present on their
leased servers at Carpathia Hosting. a hosting company headquartered in the Eastern District of

Virginia A member of the Mega Conspiracy informed several of his co-conspirators at that time



                                                   11                                          Exh. 10, Pg. 10
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 103 of 126 Page ID
                                   #:5555

      Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 12 of 72 PageID# 12



that he located the named files using internal searches of their systems. As of November 18,

2011, more than a year later, thirty-six of the thirty-nine infringing motion picrures were still

being stored on the servers controlled by the Mega Conspiracy.

       26.     At all times relevant to this Indictment, the defendants and other members of the

Mega Conspiracy knew that they did not have license, permission, authorization, or other

authority from owners of hundreds of thousands of copyrighted works to reproduce and

distribute those works, including making them available over the Internet. Members of the Mega

Conspiracy are aware of the way that their sites are actually used by others; have themselves <E(o----

used the systems to upload, as well as reproduce and distribute, infringing copies of copyrighted

content; and are aware that they have financially benefined directly from the infringement of

copyrighted works that they are in • position to control.

       27.     In addition to Megaupload.com. Megavideo.com. and Megaclick.com. the other

websites created and domains owned by the Mega Conspiracy include: Megaworld.com;

Megalive.com; Megapix.com; Megacar.com; Megafund.com: Megakey.com; Megaking.com;

Megahelp.com; Megagogo.com; Megamovie.com; Megapom.com; Megabackup.com;

Megapay.com; Megabox.com: and Megabest.com. Several of these additional sites have also

hosted infringing copies of copyrighted works. The websites and services, as well as the

domains themselves, have been facilitated and promoted by illicit proceeds from the operations

of Megaupload.com. Megavideo,com, and Megaclick.com.

       28.    . In addition to MEGAUPLOAD LIMITED, VESTOR LIMITED, Megamedia

Limited, Megavideo Limited, Megarotic Limited, Meg'pix Limited, Kingdom International

Ventures Limited, Netplus International Limited LLC, Basemax International Limited, and

Mindpoint International Limited LLC, the following companies and entities have facilitated and


                                                 12                                           Exh. 10, Pg. 11
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 104 of 126 Page ID
                                   #:5556

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 17 of 72 PageID# 17



nwnerous occasions, ORTMANN received DMCA copyright infringement takedown notices

from other conspirators and third-party companies. ORTMANN also had authority to distribute

funds from one of the Conspiracy's main financial accounts. ORTMANN has received a link to

a copy ofa copyrighted work associated with the Mega Conspiracy. In calendar year 2010

alone, ORTMANN received more than $9 million from the Mega Conspiracy.

       36.    ANDRUS NOMM is a citizen of Estonia and a resident of both Turkey and

Estonia. NOMM is a software programmer and Head of the Development Software Division for

MUL. NOMM is responsible for the technical aspects of Megaclick.com. NOMM develops

new projects, tests code~ and provides routine maintenance f?r the site. Additionally, NOMM

provides web coding assistance to various projects on other Mega Conspiracy websites. Such

projects have included testing high definition video on Megavideo.com, installing the thumbnail

screen captures for uploaded videos, and transferring still images across the various Mega

Conspiracy website platforms. NOMM has accessed at least one infringing copy of a

copyrighted work from a computer associated with the Mega Conspiracy. In calendar year 2010,

NOMM received more than $100,000 from the Mega Conspiracy.

       37.    BRAM VAN DER KOLK, who has also been known as BRAMOS, is a resident

of both the Netherlands and New Zealand. VANDER KOLK is a Dutch citizen. V AN DER

KOLK is the "Programmer-in-Charge" for MUL and MMG. VANDER KOLK, as the director

and sole shareholder of Mindpoint International Limited LLC, effectively owns 2.5% of the

shares ofMUL. From the onset of the Conspiracy through to the present, VANDER KOLK has

overseen progranuning on the Mega Conspiracy websites, as .well as the underlying network

infrastructure. VANDER KOLK is also responsible for responding to DMCA copyright

infringement takedown notices sent to Mega Conspiracy sites. Lastly, VANDER KOLK


                                               17                                            Exh. 10, Pg. 12
 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 105 of 126 Page ID
                                    #:5557

      Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 18 of 72 PageID# 18



oversaw the selection of featured videos that were posted o,nto Megavideo.com', and he was

previously in charge of the rewards program. VAN DER KOLK has personally uploaded               <E(;'---

multiple infringing coRies of copyrighted works to Internet sites associated with the Mega

Conspiracy and has searched servers conlIolled b'y the Mega Conspiracy for infringing copies

of copyrighted works at the request of other co-conspirators, including several of the

defendants In calendar year 2010, VANDER KOLK received more than $2 million from the

Mega Conspiracy.

                                        THIRD-PARTIES

        38.     Carpathia Hosting (Carpathia.com) is an Internet hosting provider that is

headquartered in Dulles, Virginia, which is in the Eastern District of Virginia. Carpathia Hosting

has access to datacenters in Ashburn, Virginia; Hanisonburg, Virginia; Phoenix. Arizona; Los

Angeles, California; and Toronto, Canada. The Mega Conspiracy leases approximately

25 petabytes' of data storage from Carpathia to store content associated with the Mega Sites.

More than 1,000 computer servers in North America are owned and operated by Carpathia

Hosting for the benefit of the Mega Conspiracy; more than 525 of these computer servers are

. currently located in Ashburn, Virginia, which is in the Eastern District of Virginia. Carpathia

Hosting continues to provide the Mell'! Conspiracy with leased computers, Internet hosting, and

support services as of the date of this Indictment.

        39.     Cogent Communications (Cogentco.com) is a multinational Internet hosting and

bandwidth provider that is headquartered in Washington, D.C., but also bas offices and facilities

in the Eastern District of Virginia As one of the top five global Internet service providers,

Cogent Communications owns and operates 43 datacenters around the world. The Mega


, A petabyte is more than 1,000 terabytes, or one million gigabytes.
                                                 18                                          Exh. 10, Pg. 13
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 106 of 126 Page ID
                                   #:5558

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 23 of 72 PageID# 23




               b.     18 U.S.C. §§ 1956(a)(I)(A)(i), 1956(a)(2)(A), 1956(h), 1956(1), and 1957
                      (money laundering).

       C.      PURPOSES OF THE ENTERPjUSE

       48.     The purposes of the Entetprise included the following:

               a.     Enriching the members and associ.tes of the Entetprise through, among

                      other things, copyright infringement and money laundering.

               h.     Promoting, enlarging, and enh~cing the Enterprise and its members' and

                      associates' activities.

       D.      MEANS AND METHODS OF THE ENTERPRISE

       49.     Among the meanS and methods by which the defendants and their associates

conducted and participated in the conduct of the affairs of the Entetprise were the following:

               a.     Members of the Entetprise and their associates criminally infringed

                      copyrights .. aided and abetted copyright infringement, and conspired to

                      infringe copyrights, which affected interstate and foreign commerce.

               b.     Members of the Enterprise and their associates committed money

                      laundering, attempted to commit money laundering, and conspired to

                      commit money laundering to facilitate and expand the Entetprise's

                      criminal operations.




(All in violation of Title 18, United States Code, Section 1962(d))



                                                23                                          Exh. 10, Pg. 14
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 107 of 126 Page ID
                                   #:5559

      Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 24 of 72 PageID# 24



                                            COUNT TWO

                  (18 U.S.C. § 371 - Conspiracy to Commit Copyright Infringement)

THE GRAND JURy CHARGES THAT:

        50.       Paragraphs I through 49 are re-alleged and incol]lorated as if set forth here in

their entirety.

        51.       Beginning in at least September 2005 and continuing until at least the date of this

Indictment, in the Eastern District of Virginia and elsewhere, the defendants,

                                           KIM DOTCOM,

                                    MEGAUPLOAD LIMITED,

                                         VESTOR LIMITED,

                                           FlNNBATATO,

                                          JULIUS BENCKO,

                                       SVEN ECHfERNACH,

                                       MATIDAS ORTMANN,

                                        ANDRUS NOMM, Wld

                                      BRAM VAN DER KOLK

each knowingly and intentionally combined, conspired, and agreed together and with each other,

Wld with other persons known and unknown to the Grand Jury, to: (I) willfully infringe, for

PUl]lOses of private finWlciai gain, ten or more copies of one or more copyrighted works with a

total retail value of more than $2,500 within a ISO-day period, in violation of Title 17, United

States Code, Section 506(a)(I)(A) and Title 18, United States Code, Section 2319(b)(1): and

(2) willfully infringe, for PUl]lOses of private financial gain, a copyright by the distribution of a

work being prepared for commercial distri bution, by making it available on a computer network


                                                   24                                           Exh. 10, Pg. 15
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 108 of 126 Page ID
                                   #:5560

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 25 of 72 PageID# 25



accessible to members of the public, when the defendants knew and should have known that the

work was intended for commercial distribution, in violation of Title 17, United States Code,

Section 506(a)(I)(C) and Title 18, United States Code, Section 23 I 9(d)(2).

                        Ways. Manner, and Means of the Conspiracy

       In furtherance of the Conspiracy, defendants and others known and unknown to the

Grand Jury employed, among others, the following manner and means:

       52.     It was part of the Conspiracy that the defendants and their co-conspirators

operated a nwnber of Internet sites and associated services, including Megaupload.com.

Megavideo.com. and Megaclick.com.

       53.     It was further part of the Conspiracy that members of the Mega Conspiracy,

including many of the named defendants, willfully reproduced and distributed infringing copies

of copyrighted works using computer servers controlled by the Conspiracy.

       54.     It was further part of the Conspiracy, from at least September 2005 Wltil July

20 II, that the Conspiracy provided financial incentives for users to upload infringing copies of

popular copyrighted works. The Conspiracy made payments to uploaders who were known to

have uploaded infringing copies of copyrighted works.

       55.     It was further part of the Conspiracy that members of the Conspiracy generally

did not terminate the user accoWlts of known copyright infringing users, when it had the right

and ability Wlder its Terms of Service to do so.

       56.     It was further part of the Conspiracy that the Conspiracy made no significant

effort to identifY users who were using the Mega Sites or services to infringe copyrights, to

prevent the uploading of infringing copies of copyrighted materials, or to identifY infringing

copies of copyrighted works located on computer servers controlled by the Conspiracy.



                                                   25                                        Exh. 10, Pg. 16
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 109 of 126 Page ID
                                   #:5561

      Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 26 of 72 PageID# 26



       57.     It was further part of the Conspiracy that the Conspiracy made it more difficult for

copyright holders to identify repeat infringers by removing the identity of the infringing file's

uploader from public parts of the Mega Sites in or about November 2010.

       58.     It was further part of the Conspiracy that members of the Conspiracy generally

did oot delete infringing copies of copyrighted works from computer servers that they controlled,

even when they were aware of the infringing material or the removal was specifically requested

by the copyright holder.

       59.     It was further part of the Conspiracy that members of the Conspiracy selectively

complied with their obligations to remove any copyrighted materials (or links thereto) from the

computer seIVers they controlled. and sometimes deliberately did not remove copyrighted works

(or links thereto) when it would result in a loss pfrevenue.

       60.     It was further part of the Conspiracy that members of the Conspiracy deliberately

ntisrepresented to copyright holders that they had removed copyright infringing content from

their serversi while, in fact, they only removed certain links to the content file. which could still

be illegally downloaded through numerous redundant links. Redundant links were sometimes

created by members of the Conspiracy.

       61 .    It was further part of the Conspiracy that members of the Conspiracy had the

ability to search files that were on the computer systems they controlled, and purposefully did

not provide fujI and accurate search results to the public, or, in the case of Megaupload.com.

chose not to provide any search functionality at all in order to conceal the fact that the primary

purpOse of the website and service was to reproduce and distribute infringing copies of

copyrighted works for private financial gain.




                                                 26                                            Exh. 10, Pg. 17
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 110 of 126 Page ID
                                   #:5562

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 27 of 72 PageID# 27



       62.     It was further part of the Conspiracy that the members of the Conspiracy

misrepresented to the Conspiracy's users and the public the nature of the files that were

contained on the computer servers it controlled and of the amount of their network bandwidth

associated with infringement.

       63.     It was further part of the Conspiracy that members of the Conspiracy reproduced

copyrighted works directly from third-party websites, including from YouTube,com, to make             <E(:---

them available for reproduction and distribution on Megavideo.com.

       64.     It was further part of the Conspiracy that members of the Conspiracy monitored

the public actions oflaw enforcement regarding large-scale, copyright infringement and took

active steps to conceal the copyright-infringing activities taking place on the Mega Sites.

       65 .    It was further part of the Conspiracy that the content available on

Megaupload.com and Megavideo.com was 2rovided by known and unknown members ofthe

Mega Conspiracy, including several of the defendants, who uploaded infringing copies of              <E;(;'---

copyrighted works onto computer servers leased by the Mega Conspiracy in North America to

further the reproduction and distribution of copyrighted works; in particular, copyright infringing

content was hosted by the Conspiracy on various servers in Toronto, Canada; Los Angeles,

California; and Ashburn, Virginia (the last of which is in the Eastern District of Virginia).

       66.     It was further part of the Conspiracy that content was also reproduced on and

distributed from computer servers leased or owned by the Mega Conspiracy in France and

the Netherlands.

       67.     It was further part of the Conspiracy that the Conspiracy derived a direct

financial benefit from infringement through the advertising that was placed on the Mega Sites

and from "premium" subscription charges. Between September 2005 and the date of this


                                                27                                              Exh. 10, Pg. 18
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 111 of 126 Page ID
                                   #:5563
      Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 28 of 72 PageID# 28



lndictment, the defendants collectively have received more than $175 million from advertising

and subscriptions.

       68.     It was further part of the Conspiracy that infringing copies of many thousands of

copyrighted works on MegaupJoad.com and Megavideo.com were made available to tens of

millions of visitors each day.

                                           Overt Acts

       69.     It was further part of the Conspiracy that the following acts in furtherance of and

to effect the objects of the above-described Conspiracy were committed in the Eastern District of

Virginia and elsewhere:

               a.      From at least November 24, 2006 until at least the date of this Indictment,

infringing copies of copyrighted materials were stored on computer servers located at Carpathia

Hosting in Ashburn, Virginia, which is in the Eastern District of Virginia.

               b.      For the 180 days up to and including the date of this Indictment, members

of the Conspiracy infringed by electronic means, including by means of the Internet, more than

ten copies of one or more copyrighted works which had a tota! retail value of more than $2,500

for purposes of private financial gain. In part, copies of copyright-infringing works were

downloaded by agents of the Federal Bureau of Investigation ("FBr') and other participating

federal agencies from the National Intellectual Property IUghts Coordination Center in Arlington,

Virginia, from computer servers controlled by the Mega Conspiracy, since approximately

March 20 I 0, when federal law enforcement began their investigation.

               ·c.     During the course of the Conspiracy, the Mega Conspiracy has paid more

than $65 million to hosting providers around the world for computer leasing, hosting, bandwidth,

and support services. The amounts of some of these payments are detailed in Count lbree, and


                                                28                                           Exh. 10, Pg. 19
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 112 of 126 Page ID
                                   #:5564

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 29 of 72 PageID# 29



incorporated herein by reference. These payments involved the use of proceeds of criminal

copyright infringement to promote the objects of the conspiracy.

               d.     From at least September 2005 until July 2011 , the Mega Conspiracy

offered and provided financial incentives to its premium subscribers to upload copies of popular

works to Megaupload.com and then distribute links that provided a download of that file, with a

single click. to anyone on the Internet. Though the "Uploader Rewards" program warned that

the uploading of copyrighted files would result in disqualification, the Mega Conspiracy rarely,

if ever, terminated the accounts of individuals who posted copyrighted content. In fact, the Mega

Conspiracy affinnatively chose to financially reward specific uploaders of infringing copies of

copyrighted content, including repeat offenders.

              e.      An early version of the "Uploader Rewards" program for

Megaupload.com from approximately September 200S announced: "Today we are also

introducing our ground breaking Uploader Rewards. Our new reward program pays money and

cash prizes to our uploaders. This makes Megaupload the first and only site on the Internet

paying you for hosting your files. The more popular your files the more you make." Directly

addreSSing "fiJe traders,i' the announcement continued: "You deliver popular content and

successful files!.] We provide a power hosting and downloading service. Let's team up!" In

addition, the announcement stated: "You must have at least 50000 downloads within 3 months

to qualify" and "You must allow us to list your files & descriptions on our Top 100 pages." The

rewards included "$1 USD Cash per 1000 downloads of your uploaded files", plus an additioual

bonus between $50 to $5,000 for Top 100 "Megauploaders with the most downloads" during a

three-month period, to be paid through PayPal according to the following ranking:

       Rank I : $5,000 USD Bonus
       Ranks 2-5: $1,000 USD Bonus


                                               29                                          Exh. 10, Pg. 20
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 113 of 126 Page ID
                                   #:5565

      Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 30 of 72 PageID# 30



        Ranks 6-10: $500 USD Bonus
        Ranks II-50: $100 USD Bonus
        Ranks 51-100: $50 USD Bonus

                   f.        A later version of the "Uploader Rewards" program, available at least as

early as November 2006, offered the following: "For every download of your files, you earn I

reward point. • You can redeem your reward points for premium services and cash[.]" The

program required "a premium membership to qualifY for a payment." Rewards were paid

through PayPal according to the following reward point totals:

        5,000 reward points: One day premium
        50,000 reward points: One month premium
        100,000 reward points: One year premium
        500,000 reward points: Lifetime platinum + $300 USD
        1,000,000 reward points: $1 ,000 USD
        5,000,000 reward points: $10,000 USD

                   g.        At the time ofits termination, as recently as July 2011, the "Uploader

Rewards" program offered rewards according to the following reward point totals:

        I 0,000 reward points: One month premium membership
        50,000 reward points: 6 months premium membership
        100,000 reward points: One year premium + $100 USD
        500,000 reward points: Lifetime platinum + $500 USD
        1,000,000 reward points: $1,500 USD
        5,000,000 reward points: $10,000 USD

                   h.        In approximately April 2006, membenl of the Mega Conspiracy copied

videos directly from Yourube.com to make them available on Megavideo.com.

                   I.        On or about April 10, 2006, VANDER KOLK sent an e-mail to

ORTMANN asking "Do we have a server available to continue downloading oflbe Youtube's

vids? ... Kim just mentioned again that this has really priority."

                   j.        On or about April 10, 2006, VANDER KOLK sent an e-mail to

ORTMANN indicating "Hope [Youtube.com is] not implementing a fraud detection system

DOW .. . •   praying . ...

                                                      30                                         Exh. 10, Pg. 21
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 114 of 126 Page ID
                                   #:5566

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 31 of 72 PageID# 31



               k.     On or about April 10,2006, ORTMANN sent an e-mail to VAN DER

KOLK in reply to the "fraud detection" message indicating "Even if they did, the usefulness of

their non-popular videos as ajumpstart for Megavideo is limited, in my opinion,"

               I.     On or about April 10,2006, VANDER KOLK sent an e-mail to

ORTMANN in reply to the "jumpstart for Megavideo" message indicating that ' Well we only

have 30% of their videos yet.. In my opinion it's nice to have everythiJlg so we can descide and

brainstorm later how we're going to benefit from it."

               m.     On or about May 10,2006, a member of the Mega Conspiracy registered

the Internet domain Megaclick.com.

               n.     On or about August 31, 2006, VAN DER KOLK sent an e-mail to an

associate entitled "Jol". Attached to the message was a screenshot of a Megaupload.com file

download page for the file "Alcohol 120 1.9.5 3105complete.rar" with a description of "Alcohol

120, con crack!!!! By ChaOtiXl". The copyrighted software "Alcohol 120" is a CDIDVD

burning software program sold by www.a1cohol-soft.com.

               o.     On or about November 13, 2006, VANDER KOLK sent an e-mail to

another individual that contained 100 Megaupload.com links to infringing copies of copyrighted

musical recordings by the artist Annin van Buuren.

               p.     On or about November 13, 2006, a member of the Mega Conspiracy

registered the Internet domain Megavideo.com.

               q.     On or about December 3,2006, DOTCOM distributed a Megaupload.com

link to a music file entitled "05-50_centJeat._mobb_deep-nah-c4.mp3" to ORTMANN. A

copy of this file was still present on servers controlled by the Mega Conspiracy as of

December 20, 2011 .


                                                31                                         Exh. 10, Pg. 22
 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 115 of 126 Page ID
                                    #:5567

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 32 of 72 PageID# 32



                 r.   On or about February 5, 2007, VAN DER KOLK sent an e-mail to

ORTMANN entitled "reward pa)'lllents". Attached to the e-mail was a text file listing the

following proposed reward amounts, the Megaupload.com username, and the content

they uploaded:

       100USD         [USERNAME DELETED] 10+ Full popular DVD rips (split files), a few
                      small porn movies, some software with keygenerators (warez)
       100USD         [USERNAME DELETED] 5845 files in his account, mainly Vietnamese
                      content
       100USD         [USERNAME DELETED] Popular DVD rips
       100USD         [USERNAME DELETED] Some older DVD rips + unknown (Italian
                      serries?) rar files
       1500 USD       [USERNAME DELETED] known paid user (vietnamese content)

The last individual received at least $55,000 from the Mega Conspiracy through transfers from <E('--

PayPal Inc., as part of the "Uploader Rewards" program.

                 s.   On or about February 11 , 2007, VANDERKOLK sent an e-mail to

ORTMANN indicating that "Kim really wants to copy Youtube one to one."

                 t.   On or about February 13, 2007, ORTMANN sent an e-mail to VANDER

KOLK entitled "my concerns about the thumbnails table." In the e-mail, ORTMANN asked

VAN DER KOLK to create "a dummy lifetime'premium user," stating that "[t]his is very

important to prevent the loss of source files due to expiration or abuse reports."

                 u.   On or about February 21, 2007, VANDER KOLK sent an e-mail to

ORTMANN entitled "2 reward payment files." Attached to the e-mail was a file containing

Megauoload.com users' e·mail addresses and rewaxd payments for that time period, which

ranged from $100 to $500. For one user that was paid $300, VAN DER KOLK wrote, "30849

files. mairuy Mp3z. some copyrighted but most of them have a very small number of downloads

per file." For other users, all of which were selected for reward payments of $IOO by the Mega

Conspiracy, he wrote the following: "Our old famous number one on MV, still some illegal files

                                                32                                          Exh. 10, Pg. 23
   Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 116 of 126 Page ID
                                      #:5568

        Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 37 of 72 PageID# 37



                 II.    On or about July 18,2008, DOTCOM sent an e-mail message to

 ORTMANN instructing him to Iist "Mega Manager" as the "Number I dowload" out of the Top

 100 Megaupload.com files.

                 mm.    On or about AUgust 4, 2008, the Mega Conspiracy launched their own

 advertising company for the Mega Sites called Megaclick.com.

                 on.    On or about August I 1,2008, DOTCOM requested that the Mega

 Conspiracy's contract with Leaseweb drop a standard clause requiring contract termination for

 violations   ofLeas~web's   "Acceptable Use policy.n

                 00.    On or about September I, 2008, VANDER KOLK uploaded an infringing         <E(:---

 copy of the copyrighted television program entitled

 "BBC.Earth.-.The.Power.0f.The.Planet.50fS.Rare.Earth.XviD.AC3.MVGroup.org.avi" to

 Megaupload.com and e-mailed theURL file to another individual. An infringing copy of this

 copyrighted work was still present on servers leased by the Mega Conspiracy as of

 September 8, 201 I.

                 pp.    On or about October 13, 2008, BATATO sent an e-mail to an advertiser,

 which included a screen capture of the Megaupload.com download page for the file

 "MyBlueBeI1)'Nights.partJ.rar". The screen capture also contained an open browser window to

 the linking site www.mulinks.com.

                 qq.    On or about October 14, 2008, BATATO sent an e-mail to an advertiser

. that contained two Megaupload.com links. One of the links directed to a file

 "DanInRealLife.part2.rar", which was a·portion of an infringing copy of the copyrighted motion

 picture ICDan in Real Life."




                                                 37                                        Exh. 10, Pg. 24
 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 117 of 126 Page ID
                                    #:5569

      Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 38 of 72 PageID# 38



               IT.     On or about October 25, 2008, VANDER KOLK uploaded an infringing <E(;--

copy ofa copyrighted motion pic!w'e entitled "Taken 2008 DVDRip Repack [A Release Lounge

H264 By Micky22].mp4" to Megaupload.com and e-mailed the URL link for the file to another

individual. An infringing copy of this copyrighted work was still present as of October 27,

2011,00 a server in the Eastern District of Virginia controlled by the Mega Conspiracy.

               ss.     On or about October 31, 2008, DOTCOM forwarded an e-mail to

OR1MANN from a customer entitled «Sharebee.com" and stating that uSbarebee.com have

uploaded over I million files to megaupload in 2008." ORTMANN responded to DOTCOM that

Sharebee.com was a "multifile hoster upload service." Sharebee.com allows the mass

distribution of files to a number of file hosting and distribution services, including

Megaupload.com. and creates cHckable links to access that content from mUltiple sites.

               n.      On or about November 17, 2008, DOTCOM forwarded an e-mail to

ORTMANN from a customer that indicated "I just want to start of by saying that i love the site,

but today i discovered something i would consider a flawd. ) was watching a video of Myth

Busters when i recived a message that said "You have watched 3079 minutes of video today'''',

ORTMANN responded to DOTCOM that this was the correct behavior of the service.

               uu.     On or about November 23, 2008, DOTCOM forwarded an e-mail to

ORTMANN and ECIITERNACH from a non-premium customer that indicated "i guess we need

to find a new hobby because watching pirated material via megavideo is now over-rated and

ruined because of this video bandwidth limit."

               vv.     On or about November 23, 2008, DOTCOM received an e-mail from a

Mega Site user entitled "video problems." The e·mail described, "I've been trying to watch

Dexter episodes, but ... the sound doesn't match up with the visual .. . I didn't choose to use your


                                                 38                                           Exh. 10, Pg. 25
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 118 of 126 Page ID
                                   #:5570

     Case 1:12-cr-00003-LO Document 1 Filed 01/05/12 Page 72 of 72 PageID# 72



                                       SUBSTITUTE ASSETS

       99.        If any of the property described above, as a result of any act or omission of

the defendants,

                  a.     cannot be located upon the exercise of due diligence;
                  b.     has been transferred or sold to, or deposited with, a third party;
                  c.     has been placed beyond the jurisdiction of the court;
                  d.     has been substantially diminished in value; or
                  e.     has been commingled with other property which cannot be divided
                         without difficulty,

the United States of America shall be entitled to and intends to seek forfeiture of substitute

property pursuant to 18 U.S.C. § I 963(m) and 21 U.S.C. § 853(P), as incorporated by 18 U.S.C.

§§ 982(b)(l) and 2323(b)(2), and 28 U.S.C. § 246 1(c).


(Pursuant to 18 U.S.C. §§ 981, 982, 1963 & 2323; 21 U.S.C. § 853; 28 U.S.C . § 2461)


NEIL H. MACBRIDE                                          A TRUE BILL:
UNITED STATES ATTORNEY                                           1 PurS_:!l~11t 10 Ihe I··(imcmmrn( 1\ .. 1.
                                                                1.11,: ongmal u~ lhi3 page h:l;.I!'l\!f! li kd
                                                                   Imdcr scal mlbc Clerk's om<:e.


JAYV. PRABHU                                              Foreperson of the Grand Jury
ClllEF, CYBERCRIME UNIT
ASSISTANT UNITED STATES ATTORNEY

RYAN K. DICKEY
ASSISTANT UNITED STATES ATTORNEY



LANNY A. BREUER
ASSISTANT ATTORNEY GENERAL
U.S. Department of Justice
Criminal Division

GLENN C. ALEXANDER
TRIAL ATTORNEY
U.S. Department of Justice
Computer Crime & Intellectual Property Section


                                                   72                                                            Exh. 10, Pg. 26
Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 119 of 126 Page ID
                                   #:5571




              First Amended Complaint
                     Exhibit 11




                                              First Amended Complaint Exhibit 11
                 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 120 of 126 Page ID
                                                    #:5572
Exh. 11, Pg. 1
                 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 121 of 126 Page ID
                                                    #:5573
Exh. 11, Pg. 2
                 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 122 of 126 Page ID
                                                    #:5574
Exh. 11, Pg. 3
                 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 123 of 126 Page ID
                                                    #:5575
Exh. 11, Pg. 4
                 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 124 of 126 Page ID
                                                    #:5576
Exh. 11, Pg. 5
                 Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 125 of 126 Page ID
                                                    #:5577
Exh. 11, Pg. 6
     Case 2:11-cv-07098-AB-JPR Document 105 Filed 03/26/13 Page 126 of 126 Page ID
                                        #:5578



 1                               PROOF OF SERVICE
 2                  STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3      I am employed in the county of Los Angeles, State of California.
 4
        I am over the age of 18 and am not a party to the within action; my business address is:
 5      11803 Norfield Court, Los Angeles, CA 90077
 6
        On March 21, 2013, I served the foregoing document described as follows:
 7

 8
        FIRST AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT

 9      on the interested parties in this action by:
10
        [X] BY CM/ECF NOTICE OF ELECTRONIC FILING. I hereby certify that the
11      document(s) listed above were filed through the Court’s ECF system and have been
12
        sent electronically to all parties registered for electronic filing in this action
        specifically listed below.
13

14
        Jennifer Golinveaux                              Andrew P Bridges
        jgolinveaux@winston.com                          abridges@fenwick.com
15      Thomas James Kearney                             Shane B Witnov
16
        tkearney@winston.com                             switnnov@fewick.om
        Winston & Strawn LLP                             Fenwick and West LLP
17      555 California Street 12th Floor                 555 California Street 12th Floor
18      San Francisco, CA 94104                          San Francisco, CA 94104

19

20      FEDERAL: I declare that I am employed in the office of a member of the bar of this
        court at whose direction the service was made. I declare, under penalty of perjury
21      under the laws of the United States, that the foregoing is true and correct.
22
        Executed on March 21, 2013 at Los Angeles, California.
23

24                                               BY: _____________________________
                                                           Melanie Poblete
25

26

27
28
                                                       -1-
                                           PROOF OF SERVICE
